       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 1 of 68



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

 REVEREND GREG LEWIS, SOULS TO THE POLLS, VOCES
 DE LA FRONTERA, BLACK LEADERS ORGANIZING FOR
 COMMUNITIES, AMERICAN FEDERATION OF
 TEACHERS LOCAL, 212, AFL-CIO, SEIU WISCONSIN
 STATE COUNCIL, and LEAGUE OF WOMEN VOTERS OF
 WISCONSIN,

               Plaintiffs,

        v.                                                          20-cv-284

 DEAN KNUDSON, JULIE M. GLANCEY, ROBERT F.
 SPINDELL, JR., MARK L. THOMSEN, ANN S. JACOBS,
 MARGE BOSTELMANN, in their official capacity as members
 of the Wisconsin Election Commission, MEAGAN WOLFE, in
 her official capacity as the Administrator of the Wisconsin
 Elections Commission,

               Defendants.

______________________________________________________________________________

        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs Greg Lewis, Souls to the Polls, Voces de la Frontera, Black Leaders Organizing

for Communities, American Federation of Teachers, Local 212, AFL-CIO, SEIU Wisconsin State

Council, and League of Women Voters of Wisconsin (collectively, “Plaintiffs”) state as follows

as their complaint against Dean Knudson, Julie M. Glancey, Robert F. Spindell, Jr., Mark L.

Thomsen, Ann S. Jacobs, Marge Bostelmann, In Their Official Capacity As Members Of The

Wisconsin Election Commission and Meagan Wolfe, In Her Official Capacity As The

Administrator Of The Wisconsin Elections Commission (collectively, “Defendants” or the

“Commission”):
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 2 of 68



                                       Nature Of Action

       1.      Plaintiffs seek an order from this Court directing Defendants to postpone the current

April 7, 2020 election to a date no earlier than the expiration of Emergency Order #12 issued by

Wisconsin Governor Tony Evers on March 24, 2020, and to extend from April 7, 2020 to June 2,

2020 the deadline by which municipal clerks must have counted all returned mailed ballots for the

Wisconsin spring election. While Plaintiffs are seeking extraordinary relief, three points bear

emphasizing at the outset:

       2.      First, COVID-19 presents truly unprecedented electoral challenges. COVID-19

has spread to 190 countries and territories, including the United States, and there have been more

than 333,000 confirmed cases—and more than 14,500 related deaths – worldwide. The pandemic

has caused a state of crisis across the United States, including here in Wisconsin, where, as of

March 25, at least 585 people have been infected and at least six have died as a result of COVID-

19. The number of cases here and abroad continues to grow at an alarming rate every day,

prompting local, state, federal, and international health officials and organizations to issue

directives and recommendations that all individuals practice social distancing and refrain from

meeting in large groups, with the aim of slowing the spread of the disease throughout communities.

       3.      At the same time that local governments in Wisconsin are attempting to deal with

the unprecedented crisis caused by COVID-19, municipal clerks have been working diligently to

prepare, organize, and administer the spring election scheduled for April 7, 2020. However, local

governments are finding it functionally impossible to comply with both the Wisconsin Election

Commission’s established procedures for administering the election, the directives of health

officials to maintain social distancing, and Governor Evers’s Emergency Order #12, issued on

March 24, ordering Wisconsin residents to remain confined to their homes, except as provided in

the order.


                                                 2
        Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 3 of 68



        4.      Second, “common sense, as well as constitutional law, compels the conclusion that

government must play an active role in structuring elections; ‘as a practical matter, there must be

a substantial regulation of elections if they are to be fair and honest and if some sort of order, rather

than chaos, is to accompany the democratic processes.’” Burdick v. Takushi, 504 U.S. 428, 433,

112 S. Ct. 2059, 2063, 119 L. Ed. 2d 245 (1992) (quoting Storer v. Brown, 415 U.S. 724, 730, 94

S.Ct. 1274, 1279, 39 L.Ed.2d 714 (1974)). And for many Wisconsin voters, being forced to vote

by April 7, 2020 will be impossible, or require risk to life and limb, along with the possibility of

fine or imprisonment for violating the Governor’s “Safer At Home” Order. Thus, only by acting—

rather than abstaining—can this Court “ensure orderly, fair, and honest elections rather

than chaos.” U.S. Term Limits, 514 U.S. at 834. Here, “[c]ommon sense, as well as constitutional

law” compels the conclusion that the April 7, 2020 election cannot proceed in the manner planned.

Burdick, 504 U.S. at 433.

        5.      Third, state and local government have no overriding interest in adherence to all

aspects of the current election schedule. The interests of ensuring that we conduct a safe,

meaningful, and fair election without disenfranchising significant sections of the electorate can be

reasonably balanced. Some suggest local government positions will become vacant if the election

were postponed. However, many cities and villages have charters that permit incumbents to

continue in office pending the selection of their successor (see, e.g., Milwaukee City Charter §

2.3), and even in the absence of such a charter provision, incumbents will continue as de facto

fully valid office holders pending the completion of the election process. See League of Wisconsin

Municipalities, THE MUNICIPALITY, “Post-Election Issues: Oaths, Bonds, Vacancies, and

Organizational Meetings,” Vol. 108, No. 4 at p. 112 (April 2013); State ex rel. Reynolds v. Smith,

22 Wis. 2d 516, 522, 126 N.W.2d 215, 218 (1964); State v. Sherman, 163 Wis. 34, 157 N.W. 553




                                                   3
          Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 4 of 68



(1916).        Moreover, the two higher profile races —the Wisconsin Supreme Court and the

Democratic Primary—would be unaffected by a reasonable postponement. The winner of the

Wisconsin Supreme Court election does not take the bench until August 1, 2020, and the primary’s

certification of convention delegates can wait, as many states are doing, until sometime in June.

          6.       Moreover, as of March 25, 2020, Connecticut, Delaware, Georgia, Indiana,

Kentucky, Louisiana, Maryland, Ohio, Puerto Rico and Rhode Island have postponed their

presidential primaries due to the coronavirus outbreak.1 As of March 25, 2020, ten states and the

District of Columbia plan to have their primaries on June 2, 2020, and the latest-scheduled

Democratic Primary Election is June 23, 2020. Id. Therefore, delaying the election would ensure

that Wisconsin voters’ constitutional rights are not unnecessarily curtailed, while causing no delay

in the selection of a nominee.

                                         Jurisdiction And Venue
          7.       Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988 to redress the

deprivation, under color of state law, of a right secured by the United States Constitution.

          8.       This Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C. §§ 1331

and 1343 because this case arises under the United States Constitution and seeks equitable and

other relief for the deprivation of constitutional rights under color of state law.

          9.       This Court has jurisdiction to award attorneys’ fees and costs pursuant to 42 U.S.C.

§ 1988 and 28 U.S.C. § 1920.

          10.      This Court has jurisdiction to grant declaratory relief pursuant to 28 U.S.C. §§ 2201

and 2202.




1
    https://www.nytimes.com/article/2020-campaign-primary-calendar-coronavirus.html   (last accessed March 26,
2020).


                                                        4
        Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 5 of 68



       11.     This Court has personal jurisdiction over Defendants Dean Knudson, Julie M.

Glancey, Mark L. Thomsen, Ann S. Jacobs, Marge Bostelmann, and Robert F. Spindell, Jr., the

members of the Commission, and Meagan Wolfe, the Administrator of the Commission, who are

sued in their official capacities. Defendants Knudson, Glancey, Thomsen, Jacobs, Bostelmann,

Spindell, Jr. and Wolfe are state officials who reside in Wisconsin and work in Madison,

Wisconsin.

       12.     Venue is appropriate in the Western District of Wisconsin, under 28 U.S.C. §

1391(b)(1), because Defendants are state officials working in Madison, Wisconsin. A substantial

part of the events giving rise to these claims occurred and continues to occur in this district, making

venue also proper under 28 U.S.C. § 1391(b)(2).

                                               Parties
       13.     Plaintiff Greg Lewis is Assistant Pastor at St. Gabriel’s Church of God in

Milwaukee, Wisconsin. Reverend Lewis is an eligible and registered Wisconsin voter, who resides

in the City of Milwaukee. Reverend Lewis is an adult United States citizen and has never been

convicted of a felony. He also has never had a court take away his right to vote. Reverend Lewis

has been diagnosed with COVID-19 and is currently suffering from the disease’s serious

symptoms. Reverend Lewis is the Founding President of Plaintiff Souls to the Polls.

       14.     Plaintiff Souls to the Polls (“STTP”) is an alliance of pastors working with over

300 predominantly African-American church leaders and their parishioners in the Milwaukee area.

STTP educates and mobilizes parishioners to register and exercise their right to vote. Since 2018,

STTP has assisted thousands of voters in procuring their photo ID to vote, registering to vote, and

mobilizing voters to participate in in-person absentee voting and in-person voting on election day.

       15.     STTP was established as a non-partisan voter education and mobilization

organization in 2018 at a convention of approximately 120 church leaders in the central city of


                                                  5
        Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 6 of 68



Milwaukee. STTP’s leadership came largely from the organization Pastors United (“PU”), a non-

profit corporation, established in 2014, uniting approximately twenty Pastors of churches in

Milwaukee’s African-American community. SSTP estimates it reached approximately 20,000

parishioners in 2018 as part of its voter education, registration, and mobilization efforts though the

churches affiliated with STTP. Declaration of Reverend Greg Lewis (“Lewis Decl.”) ¶ 4.

       16.     SSTP involved thousands of African-American parishioner at their churches and

via door-to-door canvassing in the community to generate increased participation of African-

Americans in the voting process. STTP volunteers provided transportation to DMV sites to

procure photo IDs for voting; to in-person absentee voting sites; and to in-person voting on election

day during the 2018 primary and general election. Lewis Decl. ¶ 5.

       17.     During the current 2020 election campaign, STTP accelerated its activities by

hiring a team of paid staff to assist in conducting its voter education, registration, and mobilization

efforts in the African-American community. STTP has worked this year to stop the voter purge

of hundreds of thousands of voters by the Wisconsin Elections Commission; set up voter kiosks at

churches to register parishioners and community residents to vote; partnered with faculty and staff

at Milwaukee Area Technical College to register students to vote and participate in in-person

absentee voting; planned a candidate forum; and trained organizers to assist other voters in how to

access the MyVote website of the Wisconsin Elections Commission. Lewis Decl. ¶ 6.

       18.     Plaintiff Voces de la Frontera (“Voces”) is a nonpartisan, nonprofit, non-stock

corporation organized under the laws of the State of Wisconsin with its principal office located at

515 S. 5th St., in the City of Milwaukee, Milwaukee County, Wisconsin.

       19.     Voces, a nonpartisan community-based organization currently with over one

thousand dues paying members, was formed in 2001 to advocate on behalf of the rights of




                                                  6
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 7 of 68



immigrant and low-income workers.         Voces currently has chapters in Milwaukee, Racine,

Waukesha, Sheboygan, Walworth County, Madison, West Bend, Manitowoc, and Green Bay. In

addition, Voces has a youth arm, YES (Youth Empowered in the Struggle) with high school and

college chapters in Milwaukee and Racine, that is heavily involved in same day voter registration

and in-person absentee voting. Declaration of Christine Neumann-Ortiz (“Neumann-Ortiz Decl.”)

¶ 2.

       20.     Since 2004, Voces has been active continuously in voter education, voter

registration, voter mobilization, and get-out-the vote campaigns to increase the voice and influence

of the Latino community in Milwaukee and across the state. Voces has mobilized hundreds of

thousands of Latinos and other Wisconsin residents to lobby the legislative and executive branches

of Wisconsin state government around a wide range of issues related to the rights of immigrants

including driver’s licenses, in-state tuition, and immigration reform, police collaboration with

federal immigration authorities, voter access issues, and sanctuary city legislation. Voces provides

a wide range of services to the immigrant community including citizenship classes, legal clinics,

and workers’ rights advocacy. Id.

       21.     Voces is dedicated to educating and organizing its membership and community

members to exercise their right to vote as protected by the Constitution and the Voting Rights Act

of 1965.     Voces has sought legal redress in multiple cases to protect the voting rights of

Wisconsin’s Latinos in litigation challenging discriminatory legislative districts, and voter

registration and photo ID requirements. Voces seeks to maximize eligible voter participation

through its voter registration efforts and encourage civic engagement through registration and

voting. Id. ¶ 3.




                                                 7
        Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 8 of 68



       22.     In this election Voces has created a voter network of over 10,000 predominantly

Latino voters across the state, and for the first time has created a new network of over 600

volunteers called “Voceros,” who build out a personal network of volunteers to participate in

canvassing, phone banking and conduct neighborhood meetings to ensure that Latino voters across

the state of Wisconsin register to vote, participate in in-person absentee voting and in-person

voting at the polls on April 7. Voces has incurred substantial expenses and expanded its staff to

finance its voter registration, education, and mobilization activities for the 2020 election cycle. Id.

¶ 4.

       23.     The majority of the voters Voces works with are either new or infrequent voters

who require significant attention and assistance to ensure they exercise their right to vote. In the

event the Wisconsin spring elections, currently scheduled to be held on April 7, 2020, are not

postponed, many Latino voters with whom Voces works will be unable to vote in-person in the

election, due to fear of contracting the COVID-19 virus. Accordingly, Voces will need to divert

its efforts from directing voters to in-person absentee voting and in-person voting on April 7, to a

campaign to direct Latino voters to go online to request their absentee ballot and returning it via

regular mail prior to the April 7 deadline. Id. ¶ 5.

       24.     In addition, if these elections are not postponed, many voters will not vote because

they are either unfamiliar or unwilling to go to the polls on Election Day and risk COVID-19

infection. A significant number of Latino voters have historically participated in same-day

registration at the polls on Election Day, and will be unable to do this year due to the COVID-19

pandemic. Id. ¶ 6.

       25.     In addition, many Latino voters are on the wrong side of what is called the digital

divide, in that they are unfamiliar with or lack internet access. Many of these voters with whom




                                                  8
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 9 of 68



Voces has contact are also entirely unfamiliar with the mail-in absentee balloting process and the

online process to register to vote. Many of the Latino voters with whom Voces works are

predominantly Spanish-speaking and have difficulty navigating the Wisconsin Elections

Commission website and are unfamiliar with the myVoteWI site to request a mail-in absentee

ballot. Such voters will both be unable to register to vote online and even amongst those who are

registered, they will not be inclined to request a mail-in absentee ballot. This will require Voces

to divert and expend substantially more resources for each voter in educating them how to exercise

the franchise in the upcoming election. Unless the Wisconsin Election Commission postpones the

April 7 election to allow such voters to register and cast their ballots over a reasonable period of

time past April 7, thousands of Latino voters in Milwaukee and across the state will be functionally

disenfranchised. Id. ¶ 7.

       26.     Plaintiff Black Leaders Organizing for Communities (“BLOC”) was established in

2017 to work to ensure a high quality of life and access to opportunities for members of the Black

community in Milwaukee and throughout Wisconsin. Declaration of Angela Lang (“Lang Decl.”)

¶ 4.

       27.     BLOC is a year-round civic engagement organization that has a robust field

program to get out the vote and do civic education on doors and through its fellowship program.

During 2018 BLOC made 227,000 door attempts in Milwaukee, targeting Black residents to

exercise their right to engage in civic participation including voting. Id. ¶ 5.

       28.     2020 is a busy year for BLOC to ensure people have access to participate in

democracy and can get involved in every election. BLOC expands the idea of civic engagement

so everyone can participate in other civic activities even if they don’t have the ability to vote.

BLOC currently has 50 Ambassadors (folks who knock on doors and engage with the community)




                                                  9
      Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 10 of 68



who have gone through more than 30 hours of civics training before knocking on doors. BLOC

trains its folks on the civics process, and different ways to make their voice heard including (but

not limited to) voting in each election. BLOC is seen as a resource for the community to get

plugged into civic engagement. Id. ¶ 6.

       29.     In the event the Wisconsin spring elections, currently scheduled to be held on April

7, 2020, are not postponed, many African-American voters with whom BLOC has had contact will

be unable to vote in-person in the election. African-American voters are some of the most

disenfranchised and are disproportionately impacted by voter suppression efforts. Consequently,

BLOC has had to already uproot its effective field program and move to a more digital space.

Since BLOC isn’t able to be in the field like they usually are, BLOC must expand and augment its

resources to reach African-American voters. BLOC has diverted resources for such a texting and

phone-banking campaign to get out the message about how its voters can cast mail-in only absentee

ballots. BLOC battles dealing with disconnected phone numbers, and struggles to walk each person

though their scenario on where they are in the voting process to request a ballot. This requires

more training for BLOC’s Ambassadors on the new technological tools as well as keeping them

up to date on the ever-changing deadlines when it comes to registering to vote and requesting a

ballot. Additionally, BLOC is battling through misinformation, uncertainty, and an overwhelming

amount of questions about the election. Id. ¶ 7.

       30.     Plaintiff American Federation of Teachers, Local 212, AFL-CIO (“Local 212”) is

a labor organization representing approximately 1,500 teachers, counselors, and professional staff

employed by the Milwaukee Area Technical College. In addition to its advocacy regarding wages,

hours and conditions of employment for its members, Local 212 has been actively involved in

voter education and mobilization for its members (“member to member”) and for the




                                                   10
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 11 of 68



approximately 40,000 students attending MATC and the families of those students, approximately

70% are low-income voters and it is the only college in the state of Wisconsin where minority

students constitute a majority of the student population.       Declaration of Kevin Mulvenna

(“Mulvenna Decl.”) ¶ 2.

       31.     In the current and in many previous elections, Local 212 has mobilized its members

and students to register to vote, participate in in-person absentee balloting, and educated its

members and students about candidates and how to request and cast a mail-in absentee ballot. Id.

¶ 3.

       32.     During this current election period, from January 27, 2020 to March 10, 2020, Local

212 conducted regularly scheduled voter registration and voter education activities on three (3) of

MATC’s campuses several days each week, using both student and faculty (retired and active)

volunteers. At MATC’s Downtown campus, Local 212 conducted voter registration every day

Monday through Thursday, 11 am to 1:30 pm, on the West Allis campus Tuesday and Wednesdays

between 11 am and 1 pm, and on the South Campus on Tuesdays and Thursdays between 11 am

and 1 pm.     During this period, Local 212 conducted educational presentations to over 3,000

students about the voting process to 40 different classes of students, registered approximately 200

students. Id. ¶ 4.

       33.     For at least ten years, Local 212 coordinated early vote campaigns to assist students

to participate in in-person absentee voting at the City of Milwaukee’s downtown voting site. Id. ¶

5.

       34.     In terms of member-to-member activity during the period after January 20, 2020 to

the present, Local 212 did mailings to all of its members and conducted regular phone banking




                                                11
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 12 of 68



activities encouraging members to vote, including via absentee ballots, and educating them about

the issues and candidates in the election. Id. ¶ 6.

        35.     During the 2018 election periods, MATC’s downtown campus served as an in-

person absentee voting site, and Local 212 assisted in registering approximately 1400 students. In

addition, Local 212 conducted a similar member-to-member campaign for its members,

communicating via emails, texts, and regular mail. Id. ¶ 7.

        36.     The cancellation of in-person absentee voting in Milwaukee, plus the likely

cancellation of in-person voting at polling locations on April 7, will make it exceedingly difficult

for Local 212 to continue its voter education, registration, and mobilization efforts for the Spring

election. Id. ¶ 8.

        37.     Local 212 will have to divert resources towards explaining to its members and to

students with whom it has worked that their only option to vote will now be via mail-in absentee

ballots which must be received by the Milwaukee Election Commission on April 7. Id. ¶ 9.

        38.     Such a restrictive means of voting will also result in the functional

disenfranchisement of many of Local 212’s members but also students with whom Local 212

works, who are unfamiliar with the mail-in absentee ballot process and will likely not vote if the

current election schedule and requirements are maintained. Id. ¶ 10.

        39.     Plaintiff SEIU Wisconsin State Council (“SEIUWI”) is a labor organization with

its address at 33 Nob Hill Road, Madison, WI 53713. SEIUWI comprises SEIU local unions with

approximately 4,500 members throughout Wisconsin who provide home healthcare services, work

in hospitals and long-term care facilities, provide janitorial services, and work in stadiums and the

catered food service industry. Declaration of Paul Sickel (“Sickel Decl.”) ¶ 3.




                                                 12
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 13 of 68



       40.     SEIUWI is dedicated to encouraging its members and other individuals in

Wisconsin to exercise their right to vote. SEIUWI seeks to maximize voter participation through

voter registration efforts, door-to-door canvassing, and issue education. For example, SEIUWI

members and field staff personally visit voters to notify them of upcoming elections and ask them

to commit to voting in the upcoming elections and to evaluate candidates based on their positions

on particular issues. Id. ¶ 4.

       41.     SEIUWI invests significant time and resources in registering, educating, and

mobilizing its members and other voters to participate in local, state, and national elections.

SEIUWI’s resources come ultimately from dues paid by SEIUWI members —members who often

work very hard for relatively low pay but who have nonetheless made the decision to dedicate part

of their regular pay to supporting the union’s political work. Id. ¶ 5.

       42.     If the Wisconsin spring elections, currently scheduled to be held on April 7, 2020,

are not postponed, at least some voters with whom SEIUWI has had contact will be unable to vote

in-person in the election. Consequently, SEIUWI will need to divert efforts from reaching more

voters to revisiting voters it has already contacted and helping them to obtain mail-in ballots. This

duplicative outreach would impair SEIUWI's ability to reach as many Wisconsin voters as possible

in the limited time before upcoming elections. Id. ¶ 6.

       43.     In addition, if these elections are not postponed, some voters with whom SEIUWI

has had contact will be unable to vote at all. For example, SEIUWI staff have in recent days spoken

with elderly voters who prefer to and have planned to vote in person; they will not be able to do

so now because of the threat to their health. Many of those same voters do not have the technical

access or facility to obtain, complete, and return absentee ballots. Further, it is SEIUWI’s

experience that Wisconsin voters who try to use online or phone systems they have never used




                                                 13
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 14 of 68



before often encounter unexpected obstacles or difficulties in the process. Many would, in ordinary

circumstances, try to address those issues or obstacles by going to an election official’s office in

person—a step they will not now feel safe taking. Wisconsin residents will inevitably be denied

the right to vote, and SEIUWI’s use of its resources will have been wasted. Id. ¶ 7.

       44.     Plaintiff League of Women Voters of Wisconsin (“LWVWI”) is a nonpartisan,

nonprofit, non-stock corporation organized under the laws of the State of Wisconsin with its

principal office located at 612 West Main St., Suite 200, in the City of Madison, Dane County,

Wisconsin. LWVWI is an affiliate of The League of Women Voters of the United States, which

has 750 state and local Leagues in all 50 states, the District of Columbia, Puerto Rico, the Virgin

Islands, and Hong Kong. LWVWI works to expand informed, active participation in state and

local government, giving a voice to all Wisconsinites.

       45.     LWVWI, a nonpartisan community-based organization, was formed in 1920,

immediately after the enactment of the Nineteenth Amendment granting women’s suffrage. The

LWVWI is dedicated to encouraging its members and the people of Wisconsin to exercise their

right to vote as protected by the Constitution and the Voting Rights Act of 1965. The mission of

LWVWI is to promote political responsibility through informed and active participation in

government and to act on selected governmental issues. The League seeks to maximize eligible

voter participation through its voter registration efforts and encourage civic engagement through

registration and voting. Declaration of Debra Cronmiller (“Cronmiller Decl.”) ¶¶ 2-3.

       46.     The LWVWI impacts public policies, promotes citizen education, and makes

democracy work by, among other things, removing unnecessary barriers to full participation in the

electoral process. Currently LWVWI has 20 local Leagues and approximately 2,200 members.

LWVWI works with and through 20 local Leagues in the following cities, counties, and areas




                                                14
      Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 15 of 68



throughout Wisconsin: Appleton, Ashland/Bayfield Counties, Beloit, Dane County, Door County,

the Greater Chippewa Valley, Greater Green Bay, Janesville, the La Crosse area, Manitowoc

County, Milwaukee County, the Northwoods, Ozaukee County, the Ripon area, Sheboygan

County, the Stevens Point area, the Upper St. Croix Valley, the Whitewater area, Winnebago

County, and the Wisconsin Rapids area. Id. ¶ 4.

       47.     LWVWI began as an organization focused on the needs of women and training

women voters. It has evolved into an organization concerned with educating, advocating for, and

empowering all Wisconsinites. With members in nearly every county in the State, the LWVWI’s

local Leagues are engaged in numerous activities, including hosting public forums and open

discussions on issues of importance to the community. Individual League members invest

substantial time and effort in voter training and civic engagement activities, including voter

registration and get-out-the-vote (“GOTV”) efforts.       LWVWI has developed the statewide

Election Observation Program and the Vote411 voter guide for Wisconsin. Id. ¶ 5.

       48.     LWVWI also devotes substantial time and effort to ensuring that government at

every level works as effectively and fairly as possible. This work involves continual attention to

and advocacy concerning issues of transparency, a strong and diverse judiciary, fair and equal

nonpartisan redistricting, and appropriate government oversight. Id.

       49.     In 2017, 2018, and 2019, to fulfill its mission to foster civic engagement and

encourage voter participation, LWVWI made substantial investments in voter registration

activities and voter education statewide. In each of these years, LWVWI has incurred expenses to

finance voter registration and voter education activities, and it has already incurred expenses for

the 2020 election cycle. Since the Wisconsin Legislature eliminated special registration deputies,

a designation that previously allowed League volunteers to review and verify proof of residence




                                                15
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 16 of 68



documents for voter registration, the League’s work has shifted from actually registering and

educating voters about voting requirements and absentee voting to assisting voters with their

registration. This legal change forced LWVWI to rethink and change its approach to and practice

of registering voters. Id. ¶ 6.

        50.     In 2018, the last general election year, LWVWI collectively hosted a total of 1,057

election-related events in 2018, including voter registration drives, candidate events, etc. LWVWI

estimated that it collectively registered or updated the registration for 12,582 voters total. Eighteen

of LWVWI’s 20 local Leagues noted they do voter registration and education at area community

colleges, technical schools, and/or universities. All 20 local Leagues noted that they do voter

registration and education at their area high schools. Additionally, in 2018, 949 of LWVWI’s

members and volunteers participated in election activities, and 6,580 hours of volunteer time were

spent on election activities. LWVWI’s local Leagues direct voters to use MyVote.wi.gov to

register to vote, assist with changes of address and navigating MyVote and the DMV’s website,

direct voters to Vote411.org to find candidate information, and ensure voters have a valid form of

photo ID to obtain and cast their ballots. If anything, these figures are undercounted or under-

reported. Id. ¶ 7.

        51.     In 2019, LWVWI spent approximately $10,385 on voter registration activities

statewide, including work on registration form revision ($980), voter registration social media

($294), National Voter Registration Day ($588), Disability voter registration week ($196), voter

registration trainings ($980), print materials for local Leagues ($4,326), mailing tablets to local

Leagues ($21), and additional staff ($3,000). Id. ¶ 8.

        52.     For 2020, LWVWI has made substantial expenditures for voter registration activity.

Its budget provided for the following estimated costs: voter registration day ($980), Disability




                                                  16
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 17 of 68



Voter Registration Week ($588), voter registration trainings ($1,568), print materials for local

Leagues ($4,000), voter registration social media ($784), and additional estimated expenses

($6,000). The total will be $13,920. Id. ¶ 9.

       53.     LWVWI is the umbrella organization for 20 local Leagues across Wisconsin,

including in Ozaukee, Waukesha, Milwaukee, and Dane counties, and works with and through

these 20 local Leagues. Members of the local Leagues are members of LWVWI, as well as the

national League of Women Voters, and their efforts and work are part of local, state, and national

operations and done on behalf of the state and national Leagues. LWVWI offers guidance,

resources, materials, trainings, and financing in support of the local Leagues and their activities,

which include voter registration drives and, as can be seen from the above information on

expenditures, other voter registration-related activities. LWVWI serves tens of thousands of

voters, through in-person voter registration assistance to complete online and paper registrations.

LWVWI distributes voter information in the form of thousands of flyers, infocards, guides, and

stickers. LWVWI engages hundreds of thousands of individuals through its website and social

media platforms in the months prior to the November elections. LWVWI believes that these efforts

contribute to the high voter engagement and turnout for elections. Id. ¶ 10.

       54.     The League of Women Voters of Dane County has conducted 182 voter registration

events in the 2018-2019 period, registering 6,956 voters and answering 6,745 questions regarding

voter registration or the state’s voter ID law. This election cycle, the Dane County League

continued voter registration efforts at college campuses, high schools, apartment complexes,

libraries, food pantries, meal sites, neighborhood events, community centers, senior centers,

medical centers, and area places of business. Id. ¶ 11.




                                                17
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 18 of 68



       55.     The League’s high school voter registration team, one of several voter services

teams in the League of Women Voters of Milwaukee County, focuses only on high schools in

Milwaukee County and Waukesha County. It has been to date a team of five outreach coordinators

but it aims to expand. They have been assisting high school students to register to vote for about

4 school years. For the last two school years, this team has helped between 900 and 1000 students

complete and submit voter registration forms. The team is active in about 25 public schools in the

two counties. Additionally, they teach students how to organize a voter registration event in their

school and then support those students with expertise and educational materials. The League’s

high school voter registration team interacts with principals, teachers, and staff to provide voting

information. They send out a newsletter to a list of about 300 school contacts and several hundred

community members. Once a voter registration event is scheduled, the team will recruit volunteers

to assist, and those requests go out to a list of over 500 people. This team expects to register

between 1000 and 1500 students in 2020. Id. ¶ 12.

       56.     In the 2016-2017 period, the League of Women Voters of Appleton visited 42

locations, had 119 volunteers, completed 153 mail-in registrations, completed 31 on-line

registrations, and provided 173 people with information on registration, absentee voting and/or the

voter ID requirement. In 2017-18, the Appleton League visited 23 locations, had 74 volunteers,

completed 84 mail-in registrations, completed 100 on-line registrations, and provided 159 people

with information on registration, absentee voting and/or the voter ID requirement. For 2018-19,

the Appleton League visited 44 locations, had 136 volunteers, completed 50 mail-in registrations,

completed 84 on-line registrations, and provided 257 people with information on registration,

absentee voting and/or the voter ID requirement. And finally, from June 2019 through the

beginning of the 2020 election cycle, the Appleton League had 202.5 volunteer hours, 43 on-line




                                                18
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 19 of 68



registrations, 44 mail-in registrations, 169 people were provided with information on registration

and/or ID needed for voting. Id. ¶ 13.

        57.     The LWVWI believes that the health and safety of its members and Wisconsin’s

communities is paramount. As the COVID-19 coronavirus continues to affect more and more

communities across the country and in the State of Wisconsin, LWVWI has been forced to divert

its resources and develop new guidelines and resources for volunteer workers. Providing

guidelines for the prevention of coronavirus through the promotion of absentee ballots for all

voters has forced LWVWI to divert from its traditional election strategic plans and create new,

untested messages for voters. Asking all voters to vote using an absentee ballot has exasperated

existing voter access issues putting the LWVWI in the untenable situation of knowingly

disenfranchising voters who do not have the means to request, receive and submit an absentee

ballot. Id. ¶ 14.

        58.     Collectively, Plaintiffs STTP, Voces, BLOC, Local 212, SEIUWI, and LWVWI

are referred to herein as the “Organizational Plaintiffs.”

        59.     As part of their missions, the Organizational Plaintiffs work to ensure that their

members and constituents are able to effectively exercise their right to vote. Plaintiffs are directly

harmed by the challenged provisions, which by making it more difficult for Plaintiffs’ members

and constituents to vote, will require Plaintiffs to expend additional resources to assist their

members and constituents to overcome these burdens to exercise their right to vote. These are

resources that the Plaintiffs otherwise could spend educating voters about core issues and

preparing for the general election. See, e.g., Crawford v. Marion Cty. Election Bd., 472 F.3d 949,

951 (7th Cir. 2007) (political party had standing because of its diversion of resources “to getting

to the polls those of its supporters who would otherwise be discouraged by the new law from



                                                  19
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 20 of 68



bothering to vote”), aff’d, 553 U.S. 181, 189 n.7 (2008); One Wisconsin Institute v. Thomsen, 198

F. Supp. 3d 896, 908-10 (W.D. Wis. 2016).

       60.     The Organizational Plaintiffs are further harmed because in the current crisis

caused by the COVID-19 pandemic, the challenged provisions will ultimately prevent some of

their members and constituents from voting at all. Under the current circumstances, the very

heavy burden placed on the Organizational Plaintiffs’ members and constituents is a denial of

those citizens’ right to vote. But it also means that the resources the various Organizational

Plaintiffs have spent to invest in voter education, registration, and mobilization will have been

wasted.

       61.     Defendants Dean Knudson, Julie M. Glancey, Mark L. Thomsen, Ann S. Jacobs,

Marge Bostelmann, and Robert F. Spindell, Jr. are sued in their official capacities as the members

of the Wisconsin Elections Commission.

       62.     Defendant Meagan Wolfe is sued in her official capacity as the Administrator of

the Wisconsin Elections Commission.

                                  Statement of Facts and Law

       63.     Unfortunately, the timing of the April 7, 2020 election could not be worse; the

COVID-19 pandemic is ramping up in the United States with no expectation that the number of

cases will begin to diminish before the election. While efforts are in place across the country, state,

county, and city to “flatten the curve,” it is abundantly clear that the outbreak in Wisconsin is just

beginning. See, e.g., Declaration of Lester A. Pines (“Pines Decl.”), Ex. A. (Kara Garvin,

Flattening the Curve for COVID-19: What Does It Mean and How Can You Help?, University Of

Michigan Health Blog (March 11, 2020, 1:47 PM), https://healthblog.uofmhealth.org/wellness-

prevention/flattening-curve-for-covid-19-what-does- it-mean-and-how-can-you-help); Id., Ex. B



                                                  20
        Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 21 of 68



(Wis.         Dep’t       of       Health       Servs.,       Outbreaks          in         Wisconsin,

https://www.dhs.wisconsin.gov/outbreaks/index.htm (last visited March 26, 2020)).

        64.     Health care professionals caution repeatedly that the outbreak is going to get worse.

See, e.g., Id. (quoting Dr. Howard Markel, M.S., Ph.D.: “An outbreak anywhere can go

everywhere.”). Health care professionals and epidemiologists forecast that more than 60% of the

U.S. population could be infected by the virus. Id., Ex. C (Lawrence O. Gostin, et al., Presidential

Powers        and     Response       to      Covid-19,      JAMA        (March        18,       2020),

https://jamanetwork.com/journals/jama/fullarticle/2763423). National trends from the Centers for

Disease Control show that the curve is climbing rapidly. Id., Ex. D (COVID-19 cases in the United

States by date of illness onset, https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-

in-us.html (last visited March 25, 2020)). Domestically, during the one-week period between

March 17, 2020 and March 24, 2020, confirmed cases of COVID-19 identified across the United

States grew from 7,038 to 54,453. Id.

        65.     In Wisconsin, the number of confirmed cases more than quintupled from 106 cases

in 14 counties on March 18, 2020, to 585 cases in 33 counties on March 25, 2020. See Id., Ex. B

(Wis.         Dep’t       of       Health       Servs.,       Outbreaks          in         Wisconsin,

https://www.dhs.wisconsin.gov/outbreaks/index.htm (last visited March 26, 2020)). Health

officials estimate that the number of cases is actually higher, however; a shortage of testing

supplies prevents us from knowing the true number. See, e.g., Id., Ex. E (Adam Duxter, Lack of

test kits leads to low number confirmed COVID-19 cases in Rock County, Channel3000 (March

19, 2020 10:24 PM)); Id., Ex. F (Interview by WBAY News Anchors with Dr. Ashok Rai (March

20, 2020, 5:37 AM), viewable at https://www.wbay.com/content/news/Status-of-testing-sites-

supply-shortages-and-how-to-safely-support-local-business-568959781.html).




                                                 21
      Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 22 of 68



          66.   Community spread has been identified in eight Wisconsin counties, causing

officials to take extreme measures such as closing schools indefinitely, prohibiting gatherings of

10 or more people, closing bars and restaurants to dine-in service, closing personal provider

services such as salons, and directing all persons to stay at home. See Pines Decl., Ex. G (Wis.

Dep’t of Health Servs., Order for Statewide School Closure, (March 13, 2020)); Id., Ex. H (Wis.

Dep’t of Health Servs., Emergency Order #5 Prohibiting Mass Gatherings of 10 People or More,

(March 17, 2020)); Id., Ex. I (Wis. Dep’t of Health Servs., Emergency Order #6 Restricting the

Size of Child Care Settings, (March 18, 2020)); Id., Ex. J (Wis. Dep’t of Health Servs., Emergency

Order #8 Updated Mass Gathering Ban (March 20, 2020)); Id., Ex. K (Wis. Dep’t Health Servs.,

Emergency Order #12 Safer at Home Order (March 24, 2020)).

          67.   Emergency Order #12 is enforceable by the police, with violations subject to up to

30 days imprisonment and a $250 fine.

          68.   Furthermore, as of March 25, 2020, the counties encompassing the five most

populous metropolitan statistical areas in Wisconsin – Milwaukee County (Milwaukee), Dane

County (Madison), Brown County (Green Bay), Outagamie County (Appleton), and Racine

County (Racine) – have identified community spread of COVID-19. See Id., Ex. B (Wis. Dep’t of

Health Servs., Outbreaks in Wisconsin, https://www.dhs.wisconsin.gov/outbreaks/index.htm (last

visited March 26, 2020)).

          69.   The CDC recommends putting “distance between yourself and other people if

COVID-19 is spreading in your community.” Id.. Ex. L (CDC, How to Protect Yourself,

https://www.cdc.gov/coronavirus/2019-ncov/prepare/prevention.html (last visited March 26,

2020)).




                                                22
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 23 of 68



        70.   The response to the pandemic is fluid, with data and directives changing multiple

times daily. One thing that has remained constant, however, is the strong medical advice to

practice social distancing, which has been articulated with increasing urgency as the virus has

spread. See e.g. Id., Ex. G (Wis. Dep’t of Health Servs., Order for Statewide School Closure,

(March 13, 2020)); Id., Ex. H (Wis. Dep’t of Health Servs., Emergency Order #5 Prohibiting Mass

Gatherings of 10 People or More, (March 17, 2020)); Wis. Dep’t of Health Servs., Emergency

Order #6 Restricting the Size of Child Care Settings, (March 18, 2020); Id., Ex. J (Wis. Dep’t of

Health Servs., Emergency Order #8 Updated Mass Gathering Ban (March 20, 2020)); Id., Ex. M

(Press Release, Office of the Governor, Governor Evers Urges Wisconsinites to State Home

(March 21, 2020); Id., Ex. K (Wis. Dep’t Health Servs., Emergency Order #12 Safer at Home

Order (March 24, 2020)).

        71.   In addition, the CDC identifies older adults as having a higher risk of developing

more serious complications from COVID-19, and recommends that older adults stay home as

much as possible during times of spread. Id., Ex. N. (CDC, Are You at Higher Risk for Severe

Illness?,                  https://www.cdc.gov/coronavirus/2019-ncov/specific-groups/high-risk-

complications.html (last visited March 26, 2020)).

        72.   Nevertheless, the Wisconsin Department of Health Services cautions that

“[y]ounger people, and particularly those who are 18 to 30 years old, aren’t immune to COVID-

19. Anyone can contract COVID-19. So it’s important for everyone, including young and healthy

people, to practice social distancing.” Id., Ex. B (Wis. Dep’t of Health Servs., Outbreaks in

Wisconsin, https://www.dhs.wisconsin.gov/outbreaks/index.htm (last visited March 26, 2020)).

News accounts in recent days have identified serious disease and even deaths resulting from

COVID-19 in the younger population.




                                               23
      Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 24 of 68



          73.     The World Health Organization advises that “around 1 in every 5 people who catch

COVID-19 needs hospital treatment.” Id., Ex. O (WHO, Getting Your Workplace Ready for

COVID-19          (March      3,    2020),     available     at    https://www.who.int/docs/default-

source/coronaviruse/getting- workplace-ready-for-covid-19.pdf?sfvrsn=359a81e7_6). Hospitals

do not generally operate with significant extra bed space or expensive equipment, which means

that healthcare facilities facing a surge of seriously ill COVID-19 patients can easily become

overwhelmed, as is already happening in New York City. Press stories repeatedly describe

scenarios where medical professionals must be forced (and have been forced in some areas) to

choose which COVID-19 patients will receive lifesaving treatment. That is true in Wisconsin,

where the media has reported that “health care providers have warned of a scenario in which too

many seriously ill patients overwhelm too few crucial supplies like ventilators to care for them as

the virus spreads. This fear is what is driving the governor and other officials to keep people at

home.” Sarah Hauer, Coronavirus cases rise above 100 in Wisconsin as day care capacity is

limited and election lawsuit filed (Milwaukee Journal Sentinel, March 18, 2020), available at

https://www.jsonline.com/story/news/2020/03/18/coronavirus-wisconsin-hospital-bed-shortage-

election-lawsuit/2868842001/ (last accessed March 26, 2020). This is naturally a very frightening

prospect for Wisconsinites, particularly those in high-risk groups, and it makes avoiding illness

even more important, especially for the elderly and people with underlying health issues.

          74.     There is no dispute that “[t]he best way to prevent illness is to avoid being exposed

to   this       virus.”    Pines   Decl.,    Ex.    L      (CDC,    How     to    Protect    Yourself,

https://www.cdc.gov/coronavirus/2019- ncov/prepare/prevention.html (last visited March 26,

2020)).




                                                   24
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 25 of 68



       75.     In fact, local health officials, including Dr. Ashok Rai, President and CEO of Prevea

Health in Green Bay, caution against all gatherings. In regard to the California order for the state

to shelter-in-place, Dr. Rai stated, “I think the governor’s doing a great job there by getting

everybody to stay at home. I kind of wish every governor—including ours—would follow suit.

We need to take this seriously. The only way to take it seriously right now is to socially isolate,

which means in your home. We want everybody to stay at home; so Florida, California, Texas,

Wisconsin, it doesn't matter.” Id., Ex. F (“Interview by WBAY News Anchors with Dr. Ashok Rai

(March 20, 2020, 6:32am), viewable at https://www.wbay.com/content/news/Status-of-testing-

sites-supply-shortages-and-how-to-safely- support-local-business-568959781.html.”)

       76.     Furthermore, even though publicly opposed to changes to the April 7, 2020 election

process, Governor Evers has recommended that Wisconsinites “follow the guidance provided by

the Centers for Disease Control and Prevention (CDC) and the Wisconsin Department of Health

Services (DHS), urging the public to stay home as much as they are able to help protect the health

and safety of Wisconsin's healthcare workers.” Id., Ex. M (Press Release, Office of the Governor,

Governor Evers Urges Wisconsinites to State Home (March 21, 2020), available at

https://content.govdelivery.com/accounts/WIGOV/bulletins/2827da9).

       77.     On March 24, 2020, Governor Evers took the next step by issuing an order for all

persons in Wisconsin to stay at home or their place of residence; the order is enforceable by local

police, with potential criminal penalties for violation. Id., Ex. K (Wis. Dep’t Health Servs.,

Emergency Order #12 Safer at Home Order (March 24, 2020)). This is an extraordinary and

needed directive, and it makes clear that the current crisis situation is incompatible with the running

of a free and fair election in which all Wisconsinites, no matter their resource level, are able to

exercise their precious right to vote.




                                                  25
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 26 of 68



        A.      Wisconsin Election Law

        78.     The Wisconsin Constitution provides that, “Every United States citizen age 18 or

older who is a resident of an election district in this state is a qualified elector of that district.”

WIS. CONST. art. III, § 1; see also WIS. STAT. § 6.02(1) (“Every U.S. citizen age 18 or older

who has resided in an election district or ward for 28 consecutive days before any election where

the citizen offers to vote is an eligible elector.”).

        79.     Wisconsin law requires an eligible elector to register in order to cast a ballot. Id. §

6.27. Eligible electors may register to vote in person or by mail until 5:00 p.m. on the third

Wednesday before Election Day, or online until 11:59 p.m. on the third Wednesday before Election

Day. Id. § 6.28(1). Eligible electors who miss this deadline may register at the municipal clerk’s

office until close of business on the Friday before Election Day, id. § 6.29(a)(2), or at the polls on

Election Day. See generally id. § 6.55. Documentary proof of residence is required to register to

vote at municipal clerk’s offices during the early voting period and on Election Day at the polls.

Id. § 6.34.

        80.     Thus, according to statute, to use those forms of registration for the April 7, 2020

primary election, voters would have had to register by March 18, 2020. However, in an Opinion

and Order entered on March 20, 2020, Judge William Conley, U.S. District Court Judge for the

Western District of Wisconsin, extended electronic voter registration through March 30, 2020.

Democratic National Committee, et al. v. Bostelmann, et al., No. 20-249 (W.D. Wis. March 20,

2020). Unfortunately, organizers contacting voters for SEIUWI have found that most are unaware

of this extension and that many voters, especially among the elderly population, cannot complete

registration online.

        81.     Individuals registering to vote electronically or by mail must provide a copy of an

“identifying document that establishes proof of residence,” which means they must not only have


                                                    26
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 27 of 68



the document but must be able to upload or photocopy it and present it successfully. Id. § 6.34(2).

The only exception to this rule is for individuals registering electronically who do not have to

provide such documentation if they provide “the number of a current and valid operator’s license

[or] identification card.” Id. § 6.34(2m).

       82.     Electors in Wisconsin must present an approved voter ID in order to vote. Wis. Stat.

§ 6.79. If an otherwise eligible voter wishes to obtain a voter ID to vote in the April 7, 2020

election, he or she must make an in-person visit to the Wisconsin Department of Motor Vehicles.

As stated by the previous Commission Administrator: “If you don’t have one of those or another

acceptable photo ID, you can get one for free after just one visit to a Wisconsin DMV office.”

https://elections.wi.gov/node/5596 (last accessed March 25, 2020). According to the Department

of Transportation’s guidance, the first step for individuals seeking a voter ID is: “Go to the DMV

to apply[.]” https://wisconsindot.gov/Pages/dmv/license-drvs/how-to-apply/petition-process.aspx

(last accessed March 25, 2020).

       83.     Historically, Wisconsin voters rely heavily on same-day voter registration. Since

2008, ten to fifteen percent of all registrations have occurred at a polling place on election day.

Wis. Elections Comm’n, General Election Voter Registration and Absentee Statistics 1984-

2016.xlsx,     available     at     https://elections.wi.gov/elections-voting/statistics?q=elections-

voting/statistics&page=2 (last visited March 26, 2020).

       84.     Wisconsin’s absentee voting process allows all registered voters to vote by absentee

ballot. See id. § 6.20. Requests for absentee ballots may be made by mail; in person at the

municipal clerk’s office; by signing a statement and requesting to receive an absentee ballot under

special procedures for voters who are indefinitely confined; by an agent, under special procedures

for voters who are hospitalized; by delivery to a special voting deputy; or by e-mail or fax. Wis.




                                                 27
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 28 of 68



Stat. § 6.86(1)(a). However, the statutes also provide deadlines for voters to request absentee

ballots. For example, requests made by mail to vote absentee must be received by 5:00 p.m. on

the fifth day before an election, and in-person requests must be made at the municipal clerk’s office

by the Sunday preceding an election. Id. § 6.86(1)(b).

       85.     All voters are required to present a copy of their proof of identification with their

absentee application. Id.(1)(ac).

       86.     All absentee ballots must be witnessed and signed by an adult U.S. citizen (other

than military and overseas voters, whose absentee ballots may be witnessed by an adult who is not

a U.S. citizen. Wis. Stat. § 6.87(4)(b)1. The witness signature requirement applies to all absentee

voters, regardless of the particular method by which they cast their ballots. Id. The absentee ballot

certificate contains both a voter certification and a witness certification, which the voter and

witness must respectively sign under penalty of perjury.

       87.     Because Wisconsin law requires that mail-in absentee ballots’ certifications be

signed by the voter and by a witness who is an adult U.S. citizen, this requirement constitutes an

insurmountable hurdle for many eligible Wisconsin voters under quarantine or in isolation. All

eligible Wisconsin voters under self-quarantine who live alone or who do not have an adult U.S.

citizen in their household will be unable to satisfy the state’s witness signature requirement and

cast a mail-in absentee ballot. For example, one 87-year-old voter contacted earlier this week will

not be able to satisfy this requirement (even assuming she can obtain an absentee ballot) because

she lives alone and is concerned about contact with a younger relative, who she worries is not

adequately protecting himself from the virus.




                                                 28
         Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 29 of 68



         88.    Once a voter has received and completed his or her ballot, he or she must return it

so that “it is delivered to the polling place no later than 8 p.m. on election day.” Wis. Stat. § 6.87(6).

Absentee ballots mailed but not physically received by that time are not counted. Id.

         89.    Under normal circumstances, the process of mailing absentee ballots to voters and

receiving them back in the mail can take up to two weeks. This time period is likely to be even

longer under the current circumstances, particularly since the number of registered Wisconsin

voters submitting requests for the April 7 spring election and Presidential preference primary had

already reached 626,837 as of March 25, 2020. See https://elections.wi.gov/node/6765 (last

accessed March 26, 2020).

         90.    For in-person voting, the process requires closer and potentially direct contact. The

following procedures are taken from the City of Green Bay Election Inspection Training Manual,

but they are similar to the procedures used in other municipalities throughout the state, including

the cities of Milwaukee, Madison, and Racine.

         91.    Polls open on election day at 7:00 am and close at 8:00 pm.

         92.    Two (2) identical lists of the registered voters in each ward, known as “poll books,”

are provided to each ward. A minimum of two (2) poll workers are assigned to each ward table

and are responsible for checking voters’ photo IDs, locating names and addresses in the poll book,

assigning sequential voter numbers, and issuing ballot to the voters. See City of Green Bay Election

Inspector Training Manual at 12 (Updated January 2020).

         93.    There must always be two (2) poll workers at each ward table whenever a voter is

being issued a ballot for the purpose of cross checking each other’s work and avoiding errors. Id.

at 23.




                                                   29
         Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 30 of 68



         94.     Poll workers work closely together the entire election day to ensure the integrity of

the election by confirming the information recorded on each voter list is accurate and identical.

See id. at 12.

         95.     State law requires that each eligible voter state their full name and address when

appearing at a ward table to vote. Id. at 13 (citing Wis. Stat. § 6.79(2)(a)).

         96.     Voters must then present a photo ID. Id.

         97.     Notably, verification of name, address, and photo ID is completed by two (2) poll

workers at the voting location. See generally id.

         98.     After the information is validated, the voter is required to sign the poll book used

by the poll workers, and poll workers frequently have to assist the voter in finding their name. Id.

at 14.

         99.     A ballot must be initialed by two (2) poll workers and is then issued to the voter,

along with a voter number. Id. at 15.

         100.    After the voter completes the ballot, the voter number is returned to the poll workers

when the voter feeds their ballot into the voting machine. Id.

         101.    Poll workers provide further assistance to voters who require additional help in

voting, such as through the express vote machine. See generally id.

         102.    Same-day registration is also available to the public on election day. Id. at 22.

         103.    If a person fills out their ballot incorrectly, the ballot is considered spoiled and

returned to the poll workers for issuance of a new ballot. Id.

         104.    In addition to poll workers and voters, election observers and the media have a right

to be present during voting hours at all polling locations. Id. at 73.




                                                  30
         Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 31 of 68



         105.   Notably, observers may examine the poll books, but the books must remain under

the control of the poll workers at all times. The poll books may not be handed to the observers. Id.

at 74.

         106.   Throughout the entirety of this process, there are multiple instances in which voters

and poll workers alike are closer to one another than the recommended six feet of separation for

proper social distancing—and that does not even take into account the predicted lack of ability to

maintain social distancing among voters in line at their polling places.

         B.     Commission Directives relative to COVID-19 and the April 7, 2020 Election

         107.   In light of the COVID-19 pandemic and related public health orders, municipal

clerks throughout the State of Wisconsin have expressed concerns about safe procedures for

administering the April 7, 2020 election. In response, the Commission has issued several

communications concerning the clerks’ responsibilities relative to the administration of the

election.

         108.   In a memorandum prepared for the Commission’s March 18, 2020 telephonic

meeting, titled “Update Regarding COVID-19 Election Planning,” the Commission forthrightly

identified several concerns about the April 7, 2020 election as a result of the COVID-19 pandemic,

such as shortages of absentee ballot envelopes, polling locations, poll workers, and even hand

sanitizer and cleaning products. See generally Wis. Elections Comm’n, Update Regarding

COVID-19 Election Planning (“March 18, 2020 WEC COVID-19 Planning Update”) (March 18,

2020).

         109.   The proffered solutions for the problems identified in the memo are impractical and

insufficient—and in some cases no solutions are offered at all.

         110.   The memo suggests that, in response to absentee ballot envelope shortages, clerks

be prepared to print their own. Id. A subsequent memo from the Commission indicated that it has


                                                 31
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 32 of 68



placed an order for additional envelopes and that it “is expected to begin to receive a large portion

of the envelopes on March 25, 2020.” Wis. Elections Comm’n, Absentee Envelope Order Status

and Delivery Details, 1 (March 19, 2020). However, the memo lacks specificity as to precisely

when and how many envelopes municipalities can expect to receive. Id.

       111.    In response to the critical shortage of hand sanitizer and other sanitation wipes for

polling places, the memo merely acknowledges that “there appears to be no hand sanitizer or

sanitation wipes available through local, state or federal channels,” and that while federal security

funds may be used to procure sanitation supplies, “those resources do not seem to be available at

this time.” March 18, 2020 WEC COVID-19 Planning Update, 3. The Commission issued another

memo about sanitizing products on March 22, 2020, with suggestions for alternative options for

locations without sufficient supplies; however, the possible alternatives identified therein are

inadequate and most would require municipalities to expend additional funds to attempt to employ

measures that may only be partially effective. Wis. Elections Comm’n, FAQ: Hand Sanitizer

Issues and Options (“March 22, 2020 WEC FAQ: Hand Sanitizer”) (March 22. 2020).

       112.    With respect to shortages of poll workers and election inspectors, the Commission’s

March 18, 2020 memo suggests that clerks should create backup lists of election inspectors in case

poll workers are not able or do not show up to work during the election. March 18, 2020 WEC

COVID-19 Planning Update at 4. It suggests recruiting from “high school students, college

students, teachers, other municipal, county, and government employees and to private employers

in the community.” Id.

       113.    The Commission also advises clerks “to develop backup plans if they personally

are unable to serve in the days leading up to and on Election Day. Clerks should be in the position

to deputize other members of their staff or other individuals within their local municipal




                                                 32
        Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 33 of 68



government that could step in and run the election should it become necessary in an emergency.

Clerks should be mindful that additional training of these individuals will be needed.” Id.

        114.   Notwithstanding the drastic orders and recommendations issued by government

officials and health care providers alike, Defendants have continued to insist that municipal clerks

must continue in-person voter registration, which necessarily requires that there be fewer than six

feet between the registrant and the member of the clerk’s staff. See, e.g., Wis. Elections Comm’n,

COVID Planning – In-Person Absentee Voting Hours (March 18, 2020); Wis. Elections Comm’n,

Update Regarding COVID-19 Election Planning (March 18, 2020); Wis. Elections Comm’n,

Memorandum, Emergency Order #12 Does Not Eliminate In-Person Absentee Voting (March 24,

2020)                                     https://elections.wi.gov/sites/elections.wi.gov/files/2020-

03/Clerk%20comm%20re%20Emergency%20Order%2012%203.24.20.pdf (last accessed March

26, 2020).

        115.   The Commission also acknowledges that the fluid nature of the pandemic response

is problematic, stating “It is also important to note that the guidance from public health officials

changes daily. Because the guidance may continue to change dramatically in the coming days,

WEC staff has been focusing efforts on advising clerks on the processes before them today relevant

to today’s guidance.” Id.

        116.   Furthermore, the Commission has admitted that given the dynamic and continually

evolving nature of this crisis, “we do not know what the guidance will be as we get closer to

Election Day.” Id.

        117.   The Commission has also stated that it “does not have the authority to change these

statutory deadlines or cancel or postpone the election, and that any change may require court

intervention, an act of the Legislature, or an order of the Governor.” Id. at 1.



                                                 33
         Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 34 of 68



         118.   In addition, Governor Evers has publicly opposed changes to the election process,

including exempting election operations from his executive orders intended to protect the public

health. See e.g. Pines Decl., Ex. J (Wis. Dep’t of Health Servs., Emergency Order #8 Updated

Mass Gathering Ban (March 20, 2020)).

         119.   Governor Evers has also stated he does not have the authority to postpone the

election. See Memorandum from Joseph T. Kreye, Legal Services Manager, Wisconsin Legislative

Reference Bureau, to Wisconsin State Assembly Minority Leader Gordon Hintz (March 18, 2020).

         C.     Election Preparations in Wisconsin’s Largest Municipalities.

Election Preparations in the City of Milwaukee

         120.   The City of Milwaukee will be functionally unable to comply with the Wisconsin

Election Commission’s directives to conduct an in-person election in its 325 wards and 180 polling

sites.

         121.   On March 15, 2020, the Mayor of the City of Milwaukee declared an emergency in

the City of Milwaukee under Wisconsin Statutes s. 323.14(4)(b) and Milwaukee City Charter s. 6-

07-3 due to the public health emergency associated with the COVID-19 pandemic. The Common

Council of the City of Milwaukee ratified that declaration in file number 191881 on March 18,

2020. Declaration of Neil Albrecht (“Albrecht Decl.”) ¶ 2.

         122.   The City of Milwaukee has an approximate total population of 592,000 residents

(439,000 of voting age) and approximately 298,000 currently registered voters. The City of

Milwaukee has 327 electoral wards and 180 polling stations. As of March 20, 2020, 18 previous

polling stations are unavailable due to the risk of cross contamination of sensitive polling sites.

Albrecht Decl. ¶ 4.

         123.   In the 2016 spring presidential primary, the Milwaukee Election Commission

documented 167,765 total ballots cast and processed 14,321 absentee ballots. In the 2012 spring


                                                34
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 35 of 68



presidential primary election, the Milwaukee Election Commission documented 84,641 total

ballots cast and processed 5,690 absentee ballots. Albrecht Decl. ¶ 6.

       124.    In preparation of the April 7, 2020 election, the City of Milwaukee’s Election

Commission requires 300 staff members to assist in the processing of absentee ballots at central

count and 1,500 for polling location operations across the city. Due to the public health emergency,

trained staff numbers are decreasing to less than 1,000 election workers and less than 50 central

count workers. Albrecht Decl. ¶ 7.

       125.    The City of Milwaukee’s Election Commission has received 400 notices that

previously trained elections staffs are unavailable to work the election. In-person training of new

poll workers and central count staff is growing increasingly difficult to perform while still

practicing social distancing. Given the inability to train new poll workers, it is virtually certain

that the City of Milwaukee will lack sufficient poll workers to staff the polling locations across the

city, and will likewise lack the requisite number of staff members to process absentee ballots at

the central count location. Albrecht Decl. ¶ 8.

       126.    Whether imposed de jure or de facto, the City of Milwaukee likely will be unable

to conduct in-person voting in its 327 wards on April 7, leaving mail-in absentee voting as the only

means currently by which Milwaukee voters will be able to vote for the Spring Election scheduled

to occur on April 7. Albrecht Decl. ¶ 9.

       127.    As of March 25, 2020, the City of Milwaukee’s Election Commission has processed

approximately 52,468 requests for an absentee ballot. It is estimated that the City of Milwaukee’s

Election Commission will continue to receive approximately 5,000 absentee ballot requests per

day for the next eight (8) days until the last day such requests may be received, Thursday, April 2.

Assuming there is a 5% drop-off in ballots mailed and ballots returned, that would be an additional




                                                  35
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 36 of 68



38,000 absentee ballots processed, for an estimated total of 90,000 absentee ballots returned and

cast for this Spring Election. Assuming it is impossible to conduct an in-person election at its

polling locations on April 7, such a turnout would then be approximately 70,000 votes less than

the voter turnout Milwaukee ordinarily would have for this Spring Election, or an approximate

44% turnout reduction from originally anticipated. Albrecht Decl. ¶ 10.

Election Preparations in the City of Madison

        128.    The City of Madison is finding it functionally impossible to comply with both the

Wisconsin Election Commission’s established procedures for administering the election and the

directives of health officials.

        129.    The election-related responsibilities of the Madison City Clerk’s Office include

providing absentee ballots to voters and receiving and processing completed absentee ballots. The

office is currently in the process of sending and receiving absentee ballots for the Spring Election

scheduled for April 7 (“Spring Election”). Declaration of Maribeth Witzel-Behl (“Witzel-Behl

Decl.”) ¶ 2.

        130.    The coronavirus epidemic that is sweeping the world is having direct and severe

consequences for the Spring Election. The epidemic has led to declarations of emergencies by the

national, state, and local governments. Orders issued by the Director of Public Health for Madison

and Dane County greatly restrict the ability of persons to travel to the polls to register and vote in-

person. On March 25, 2020, a new “Safer At Home Order” from Wisconsin Governor Tony Evers

took effect, which orders “All individuals present within the State of Wisconsin . . . to stay at home

or at their place of residence . . . .” With limited exceptions, the Order requires individuals in the

Wisconsin to stay at home through April 24, 2020. Anyone who violates the Order is potentially

subject to 30 days imprisonment or a fine up to $250. Id. ¶ 3.




                                                  36
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 37 of 68



           131.   Due to the above orders and concerns that people have about their health, many

voters and poll workers are reluctant to go to the polls out of concern they may contract COVID-

19 or infect others. For example, as of March 24, 2020, the City has had 666 poll workers cancel

their assigned shifts at the polls for the Spring Election. That is about 32% of the poll workers

invited to work for the Spring Election. The City offers two shifts for poll workers on Spring

Election day. As of March 24, 2020, 774 of 1,500 morning shifts and 716 of 1,500 evening shifts

were vacant. In addition, about 67% of the City’s poll workers are in the “at risk” category for

COVID-19, being over 60 years of age. The City of Madison anticipates more poll workers

deciding not to work for the Spring Election. Id. ¶ 4.

           132.   The City of Madison has an approximate total population of 255,650 residence

(213,725 of voting age) and approximately 179,648 registered voters. The City has 152 voting

wards and 92 polling stations. As of March 20, 2020, 14 previous polling stations are unavailable

due to COVID-19 concerns, and the Madison Metropolitan School District is considering not

allowing the City to use the 21 school facilities that usually serve as polling locations. Id. ¶ 5.

           133.   Attempting to meet the extraordinary demand for absentee ballots and other

requests from voters has strained the capabilities of the Clerk’s office. Some of the employees

have been working 12-17 hour days for more than a week, with no end in sight. This is true even

with the reassignment of dozens of other employees of the City of Madison to assist the City Clerk.

Id. ¶ 6.

           134.   The health emergency and the fear of contracting COVID-19 has led to an

unprecedented number of requests for absentee ballots. As of March 24, the Clerk’s Office had

sent 40,275 absentee ballots by mail and 1,273 by e-mail. In the 2016 spring presidential primary,

Madison voters cast 118,219 ballots, including 10,272 absentee ballots. In the 2012 spring




                                                 37
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 38 of 68



presidential primary, Madison voters cast 46,452 ballots, including 5,190 absentee ballots. The

City is anticipating as many as 118,000 absentee ballots to be cast in the April 7 Spring Election.

Id. ¶ 7.

           135.   The ever-increasing volume of requests for absentee ballots is threatening to

overwhelm the staff available to the City Clerk and raises the distinct possibility that thousands of

voters will be unable to exercise the franchise, despite their best efforts to do so. Id. ¶ 8.

           136.   As of Friday, March 20, 2020, the City of Madison had a backlog of over 16,000

email requests for absentee ballots. On March 25, the backlog was still over 12,000. By law, the

Clerk’s Office is required to respond to send an absentee ballot to a voter within 48 hours of

receiving the voter’s request for a ballot. With the backlog and the deluge of continuing requests

for absentee ballots, it is now taking the Clerk’s Office approximately one week to send a voter an

absentee ballot after receiving his or her request for one. The City does not have the resources to

meet the 48-hour requirement. Id. ¶ 8.

           137.   As noted, the Clerk’s Office has already issued over 41,000 absentee ballots and

only a few thousand have been returned to the Clerk’s office. Many of the email requests for

absentee ballots contain so much data that the City’s computer system is unable to download the

information. Id. ¶ 10.

           138.   In addition to the above problems, the Clerk’s office now receives numerous

requests daily from individuals who have received an absentee ballot, but live alone and have no

person to witness the ballot. Due to the coronavirus outbreak and the Governor’s Safe At Home

order, these persons are afraid to leave their homes in search of a witness. Id. ¶ 11.

           139.   The City Clerk expects thousands of voters will not be willing to go to the polls for

the Spring Election. These voters and any citizen struggling to obtain and complete an absentee




                                                   38
        Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 39 of 68



ballot face the impossible task of choosing between possibly contracting a fatal illness, or

exercising their right to vote. Poll workers for the City of Madison and other election officials are

facing the same dilemma: Do they perform their obligations to run a full and fair election and risk

contracting a possibly fatal illness, or do they decline to assist in the election to stay healthy? Id.

¶ 12.

        140.   The circumstances described above makes the 8:00 p.m. election day deadline for

receipt of absentee ballots completely unworkable. The combination of the volume of requests for

absentee ballots, the ever-increasing backlog the City has, and the fact that it now takes about a

week to send voters an absentee ballot means that a very large number of absentee ballots from

lawful voters will not arrive until after election day. The Clerk estimates that the City will receive

more than 1,000 absentee ballots after 8:00 p.m. on April 7. Under the current law, all of those

voters will be disenfranchised -- their votes won’t count. Id. ¶ 13.

        141.   The City also is beginning to receive calls from voters who are currently overseas

and unable to return their absentee ballot via mail because the country in which they are located is

no longer offering mail service due to COVID-19. The City Clerk’s Office contacted the

Wisconsin Elections Commission about this issue, and was informed that the only option for these

voters is to return their ballot through the mail. The City has issued absentee ballots to over 500

voters who are currently overseas. Id. ¶ 14.

        142.   In addition to the above issues, the unprecedented requests for absentee voting is

hampered at times by shortages of mailing labels and envelopes. Id. ¶ 15.

Election Preparations in the City of Green Bay

        143.   The City of Green Bay is finding it functionally impossible to comply with both the

Wisconsin Election Commission’s established procedures for administering the election and the




                                                  39
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 40 of 68



directives of health officials. Indeed, on March 24, 2020, the City of Green Bay and the City Clerk

filed a verified complaint in the United States District Court for the Eastern District of Wisconsin

against the Wisconsin Elections Commissioners (as well as other defendants), case no. 20-cv-479

(the “Green Bay Complaint”), seeking relief from the April 7 election date, based on the City’s

inability to provide voters casting ballots in Green Bay with a safe and fair election.

       144.    As attested in that complaint, the City and its Clerk cannot adequately prepare to

conduct an election amidst the current crisis, or to create adequate policies and safeguards to

protect both public health and the validity of the election, when the Commission itself cannot

provide the necessary direction, as it has admitted that even it does not know what the guidance

will be as the election draws closer. See Green Bay Compl. ¶ 17, citing March 18, 2020 WEC

COVID-19 Planning Update at 1.

       145.    The City is experiencing all of the issues identified by the Commission as obstacles

to the election, and it is abundantly clear that the proffered solutions are both impractical and

insufficient—and in some cases in direct opposition to sound public health advice. Green Bay

Compl. ¶¶ 50-85.

       146.    To address absentee ballot envelope shortages, the Commission directs clerks to be

prepared to print their own. Id. at 66. Such a suggestion, however, fails to take into account staffing

shortages caused by COVID-19 as well as the fact that current clerks’ staffs are already stretched

too thinly while they attempt to process the overwhelming backlog created by unprecedented

demand for absentee ballots. As of March 24, 2020, the City Clerk’s Office was handling a backlog

of over 4,000 absentee ballots with six staff members, including staff from outside of the

department. Id. ¶ 66.




                                                  40
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 41 of 68



       147.    The City Clerk’s Office does not have the resources to adequately handle all of the

requests for absentee ballots plus these new directives from the Commission. Notably, the Clerk’s

office is attempting to address the new directives in addition to its day-to-day duties, all of which

have been assigned to other departments to the extent they can be at this time. Id. ¶ 67.

       148.    In response to the critical shortage of hand sanitizer and other sanitation wipes for

polling places, the Commission’s March 18, 2020 memo merely acknowledges that “there appears

to be no hand sanitizer or sanitation wipes available through local, state or federal channels.” Id.

Problematically, the City has also been unable to acquire any additional sanitizing products. As a

result, the City has moved many of its operations to remote access to decrease the number of

employees and members of the public who are required to be present in its facilities. Id. ¶ 68.

       149.    The City has determined that the alternative suggestions offered in the

Commission’s March 22, 2020 memo, see March 22, 2020 WEC FAQ: Hand Sanitizer, are not

adequate substitutes to compensate for its lack of sanitizing products, which are necessary to

ensure the cleanliness of polling places and limit potential exposure to COVID-19. Id. ¶ 69.

       150.    Accordingly, there is no way to protect poll workers or voters if basic sanitizing

wipes are unavailable for the 13-hour election day, particularly since the voting process requires

people to make direct contact and operate in close proximity to each other. Id. ¶ 70.

       151.    With respect to shortages of poll workers and election inspectors, the Commission

suggests that clerks should create backup lists of election inspectors in case poll workers are not

able or do not show up to work during the election. March 18, 2020 WEC COVID-19 Planning

Update at 4. It suggests recruiting from “high school students, college students, teachers, other

municipal, county, and government employees and to private employers in the community.” Id. ¶

70.




                                                 41
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 42 of 68



       152.    The City has 278 poll workers. Problematically, 72% of these poll workers are age

65 years or older, and 90% are age 60 years or older. No data is available for other COVID-19 risk

factors for poll workers, such as underlying medical conditions, and no consideration has been

given to the availability of child care for younger workers or potential exposure for high-risk

family members. Id. 72.

       153.    In Green Bay, only 54 of the City’s 278 poll workers have agreed to work the April

7, 2020 election as of March 20, 2020. Only 11 of those 54 are Chief Inspectors. Id. ¶ 73.

       154.    This staggering deficit cannot be addressed by creating a backup list of election

inspectors as the Commission recommends. Finding poll workers has been an on-going challenge

for the City for many years, leading to already creative solutions to meet poll worker needs under

normal circumstances. Id. ¶ 74.

       155.    Readying an election scheduled in a matter of two weeks with only 54 of 278

confirmed poll workers, with staff shortages, extreme backlogs of absentee ballot requests, and no

additional methods or funding to carry out these directives is not only impractical, it is wholly

irresponsible given that the integrity of the election will be jeopardized. Id. ¶ 75.

       156.    In addition, this ignores the directives from the Wisconsin Department of Health

Services advising that “younger people, and particularly those who are 18 to 30 years old, aren’t

immune to COVID-19. Anyone can contract COVID-19. So it’s important for everyone, including

young and healthy people, to practice social distancing.” Id. ¶ 76 (citing Wis. Dep’t of Health

Servs., Outbreaks in Wisconsin, https://www.dhs.wisconsin.gov/outbreaks/index.htm (last visited

March 26, 2020)).

       157.    Furthermore, in the event of staff shortages or clerk unavailability, the

recommendation by the Commission is for clerks “to be in the position to deputize other members




                                                 42
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 43 of 68



of their staff or other individuals within their local municipal government that could step in and

run the election should it become necessary in an emergency. Clerks should be mindful that

additional training of these individuals will be needed.” Id. ¶ 77.

       158.    Even assuming the City Clerk is able to identify someone who can proceed in her

place, the Commission is asking the City to operate an election under unprecedented conditions,

with unprecedented staffing shortages, with new and untrained staff and poll workers, and

potentially headed by someone who’s primary job function is not to run elections, and is therefore

less familiar with the election process. This is a downright reckless request. Green Bay Compl. ¶

78.

       159.    Difficulties and delays with respect to voter registration continue to be a significant

issue for this election. “The WEC strongly recommends that anyone planning to vote should

request to have an absentee ballot mailed to them as soon as possible.” Id. ¶ 79 (citing Wis.

Elections Comm. website (last visited March 26, 2020), https://elections.wi.gov). However, the

Commission also notes that “[y]ou must be registered to vote to request an absentee ballot” and

that “[t]he deadline to register by mail to vote has passed.” Id. The Commission also notes that the

online registration deadline has been extended through March 30 as a result of Judge Conley’s

order. Id.

       160.    While a step in the right direction, the order of the federal court only addresses

registration. It is deficient as to the in-person requirements as a whole. Id. ¶ 82.

       161.    These conflicting messages, coupled with the failure of the Commission or other

state officials with the authority to act to provide adequate alternatives for administration of the

election, are forcing both election workers and the electorate to choose between the fundamental




                                                  43
        Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 44 of 68



right to vote, and the clear directives of medical professionals during a pandemic with significant

fatalities. Id. ¶ 83.

        162.     It is irresponsible to conduct an in-person election knowing not only that older

Americans are at higher risk of mortality from COVID-19 during times of community spread, but

that they are also are the backbone of the election process. Id. ¶ 84.

        163.     There is no way the election can be held in-person on April 7, 2020 in Green Bay

without adequate poll workers and Chief Inspectors, and without also jeopardizing both the

integrity of the election and the electorate’s fair and equal access to the polls. Id. ¶ 85.

Election Preparations in the City of Racine

        164.     In connection with the election scheduled for April 7, 2020 (“Spring Election”),

The City of Racine Clerk’s Office is currently struggling to deal with the impact of the coronavirus

pandemic.

        165.     For instance, the Clerk’s Office is extremely burdened with processing the record

number of absentee ballot requests that they have received. Of Racine’s more than 34,000

registered voters, they typically mail ballots to 1,500 voters. That number is now over 4,500.

However, that is still a small percentage of Racine’s voters. Declaration of Tara Coolidge

(“Coolidge Decl.”) ¶ 6.

        166.     The City’s in-person, early absentee voting process at this point is heroic. Voters

are greeted by two public health officials wearing lab coats, gloves, masks, and protective eyewear.

They ask voters to take their temperature. They then ask a series of questions about symptoms and

the voter’s ability to climb two flights of stairs. Id. ¶ 7.

        167.     If the voter has a fever or any complications, a member of the Clerk’s Office staff

conducts curbside voting. If the voter does not require curbside voting, they are directed to climb




                                                   44
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 45 of 68



the stairs and stand in squares taped to the floor that are six feet apart. They then vote in one of the

City Clerk’s large conference rooms and the Council Chamber to maintain social distancing. After

citizens vote they are directed to exit a different door. Id ¶ 8.

        168.    The only operation in City Hall that has not been closed to person-to-person contact

is in-person, early absentee voting. All other City Hall operations are being conducted via

telephone and email. Id. ¶ 9.

        169.    Social distancing for in-person, early absentee voting is easier to maintain than it

will be on Election Day, because the City only gets on average 12 to 15 voters an hour. Id. ¶ 10.

        170.    In Racine’s in-person, early absentee voting process, voters and staff are

encouraged to wash their hands at the start and finish of this process. None of the staff inside the

City Hall wear personal protective equipment; they simply do not have the supplies available to

equip such City Hall staff. Id. ¶ 11.

        171.    As imperfect as the City’s in-person, early absentee voting process is, despite the

extraordinary efforts being taken, the City cannot offer anything close to that level of protection

from spread of the coronavirus to workers and voters on Election Day. Id. ¶ 12.

        172.    The City has 14 polling locations on Election Day, all with two to four wards voting

at them. They are held in schools, community centers, and churches. Each polling location requires

an election chief, a greeter, and three election officials (together, “poll workers”) to staff each

ward. In a lower-turnout election, the City needs approximately 135 poll workers, at minimum, to

run the election effectively and to comply with the law. Based upon the anticipated voter turnout,

the City Clerk will need 180 to 200 poll workers comfortably to staff the April 7, 2020 election.

Id. ¶ 13.




                                                   45
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 46 of 68



       173.    Of the 135 poll workers that the City used in the February 2020 primary election,

fewer than 25 of them were under the age of 60. The City Clerk does not know if there will be

sufficient numbers of lower-risk poll workers available on April 7, 2020. Even before the

Department of Health Services’ “Stay at Home” Executive Order #12, the City was losing poll

workers. Many of the chief election officials previously scheduled to work have notified the City

Clerk that they have chosen not to work the polls on April 7, 2020. The City Clerk is concerned

that the City will not be able to fully staff Racine’s election locations. Id. ¶ 14.

       174.    As illness spreads to more and more people in Wisconsin, the City Clerk anticipates

more and more poll workers will choose to protect against the risk of illness and death rather than

to work the polls. Id. ¶ 15.

       175.    The City Clerk’s Office cannot provide on Election Day the health screening that

it is conducting during in-person, early absentee voting—they have neither the resources nor the

personnel. Further, they do not have sufficient supplies of hand sanitizer and disinfecting cleaning

supplies. Id. ¶ 16.

       176.    The City Clerk has never before been asked to choose between keeping democracy

alive with an election and protecting the lives of the City’s residents. The City Clerk fears for the

safety of her staff, volunteers, members of the public, and the families they go home to. Id. ¶ 17.

       D.      Precautions taken by Wisconsin government generally to protect against the
               spread of COVID-19.

       177.    In the face of the rapid community spread of COVID-19 throughout Wisconsin and

the severe health risks it presents, some branches of Wisconsin government are taking

unprecedented steps to protect health and safety – their own health and safety, that is.

       178.    For example, the Wisconsin State Senate, which is made up of a total of 33 State

Senators, has ceased meeting in person at the Wisconsin State Capitol, and now is meeting by



                                                  46
      Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 47 of 68



teleconference.      See https://madison.com/wsj/news/local/govt-and-politics/state-senate-holds-

dress-rehearsal-in-anticipation-of-wisconsin-s/article_dd3e87c6-14f4-5b04-9ce1-

146e29621f5f.html (last accessed March 26, 2020).

       179.      The Wisconsin State Capitol was closed to the public as of 8:00 AM on March 26.

See             https://madison.com/wsj/news/local/state-capitol-to-close-to-the-public-after-tony-

evers/article_4a478b1f-40ad-57a3-950e-765a24f25e50.html (last accessed March 26, 2020).

       180.      On March 20, the Wisconsin Supreme Court issued orders postponing jury trials

and temporarily suspending in-person proceedings statewide “[i]n an effort to protect the public,

attorneys, court staff and judges from the health risks associated with COVID-19.”

https://wicourts.gov/ (last accessed March 26, 2020).

       181.      Yet, despite the other branches of government suspending activities that would

allow the public to physically access the State Capitol, the Senate chambers, and the courts, the

Elections Commission continues to insist that municipal clerks provide in-person voter

registration, and that the polls be open for in-person voting on April 7. In a stunning memorandum

that goes against the recommendations of health professionals and the practice of the Wisconsin

Supreme Court and Wisconsin State Senate, on March 24, the Commission’s Administrator,

Defendant Wolfe, issued a memo with the subject line, “Emergency Order #12 Does Not Eliminate

In-Person Absentee Voting,” which states the following in its opening paragraph:

              As you may know, this afternoon the Governor and the Department of
              Health Services issued Emergency Order #12 entitled “Safer at Home
              Order” related to public and private activity permitted due to the COVID-
              19 pandemic. The Wisconsin Elections Commission (WEC) has received
              several inquiries as to whether the order requires the termination of in-
              person absentee voting for the Spring Election and Presidential Preference
              Primary. The short answer is no, the Order does not require or authorize
              municipalities to terminate in-person absentee voting.




                                                 47
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 48 of 68



Wis. Elections Comm’n, Memorandum, Emergency Order #12 Does Not Eliminate In-Person

Absentee Voting (March 24, 2020) https://elections.wi.gov/sites/elections.wi.gov/files/2020-

03/Clerk%20comm%20re%20Emergency%20Order%2012%203.24.20.pdf (last accessed March

26, 2020).

       E.       The disproportionate impact and unconstitutionally heavy burden on
                minority voters of proceeding with the April 7 election.

       182.     In the event the Wisconsin spring elections, currently scheduled to be held on April

7, 2020, are not postponed, many African-American voters with whom STTP has had contact will

be unable to vote in-person in the election. Consequently, STTP will need to divert efforts from

reaching more voters to revisiting voters it has already contacted, and helping them to obtain a

mail-in ballot. This duplicative outreach would impair STTP’s ability to reach as many Wisconsin

voters as possible in the limited time before upcoming elections. Lewis Decl. ¶ 7.

       183.     In addition, if these elections are not postponed, many voters will not vote because

they are either unfamiliar or unwilling to go to the polls on election day and risk COVID-19

infection.    A significant number of African-American voters have historically participated in

same-day registration at the polls on election day, and will be unable to do this year due to the

COVID-19 pandemic. Lewis Decl. ¶ 8; Lang Decl. ¶ 8.

       184.     In addition, many low-income and African-American voters are on the wrong side

of what is called the digital divide, in that they are unfamiliar with or lack internet access. These

voters will not be able to register to vote online and will not be inclined to request a mail-in

absentee ballot. Lewis Decl. ¶ 9; Lang Decl. ¶ 9.

       185.     Many would-be voters with whom STTP has had contact will not be inclined to

register online and vote absentee, compelling STTP to divert and expend substantially more




                                                 48
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 49 of 68



resources for each voter in educating them how to exercise the franchise in the upcoming election.

Lewis Decl. ¶ 9.

       186.    Unless the Wisconsin Election Commission postpones the April 7 election to allow

such voters to register and cast their ballots over a reasonable period of time past April 7, many

African-American voters will be disenfranchised. Lewis Decl. ¶ 9; Lang Decl. ¶ 9.

       187.    The COVID-19 virus has struck hard in the African-American community, and

extending the deadline to vote in the Spring General Election will enable thousands of voters to

participate in the election who otherwise will be disenfranchised.

       188.    The ability to request an absentee ballot is mainly Internet-based. During the

COVID-19 crisis, it is almost entirely internet-based. If Milwaukee conducted an election where

ballot access was regulated by who accessed their ballot electronically, the “digital divide” will

inflict its greatest impact on voters residing in low-income and impoverished communities. And

in Milwaukee, communities in poverty are disproportionately represented by African-American

and Hispanic residents. Thus, the 44% estimated turnout reduction which is forecast if no in-

person voting occurs on April 7 will disproportionately include such African-American and

Hispanic residents. Albrecht Decl. ¶ 4.

       189.    Same-day registrants at Milwaukee’s polling locations constitute approximately

20% of total turnout in any given Spring Election. Due to a wide range of factors, those same-day

registrants are disproportionately African-American and Hispanic residents. The cancellation of

same day registration will again cause a turnout reduction that disproportionately impacts African-

American and Hispanic residents. Albrecht Decl. ¶ 12.

       190.    The majority of the voters Voces work with are either new or infrequent voters who

require significant attention and assistance to ensure they exercise their right to vote. In the event




                                                 49
      Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 50 of 68



the Wisconsin spring elections, currently scheduled to be held on April 7, 2020, are not postponed,

many Latino voters with whom Voces works will be unable to vote in-person in the election, due

to fear of contracting the COVID-19 virus. Neumann-Ortiz Decl. ¶ 5.

       191.    In addition, if these elections are not postponed, many voters will not vote because

they are either unfamiliar or unwilling to go to the polls on Election Day and risk COVID-19

infection. A significant number of Latino voters have historically participated in same-day

registration at the polls on Election Day, and will be unable to do this year due to the COVID-19

pandemic. Neumann-Ortiz Decl. ¶ 6.

       192.    In addition, many Latino voters are on the wrong side of what is called the digital

divide, in that they are unfamiliar with or lack internet access. Many of these voters with whom

Voces has contact are also entirely unfamiliar with the mail-in absentee balloting process and the

online process to register to vote. Many of the Latino voters with whom Voces works are

predominantly Spanish-speaking and have difficulty navigating the Wisconsin Elections

Commission website and are unfamiliar with the myVoteWI site to request a mail-in absentee

ballot. Such voters will both be unable to register to vote online and even amongst those who are

registered, they will not be inclined to request a mail-in absentee ballot. Unless the Wisconsin

Election Commission postpones the April 7 election to allow such voters to register and cast their

ballots over a reasonable period of time past April 7, thousands of Latino voters in Milwaukee and

across the state will be functionally disenfranchised. Neumann-Ortiz Decl. ¶ 7.

       F.      The disproportionate impact and unconstitutionally heavy burden on elderly
               voters of proceeding with the April 7 election.

       193.    On March 25, Bryan Boland, a Canvass Lead for SEIUW, called people aged 60

and older living in the western part of Wisconsin (in Assembly Districts 42, 50 and 51), to

encourage them to request an absentee ballot on-line. Boland spoke with forty-three people.



                                                50
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 51 of 68



Approximately half of those he spoke with told him that they are still planning on voting in-person,

have always voted in-person, and would not vote absentee by mail. Declaration of Bryan Boland

(“Boland Decl.”) ¶ 3.

        194.       One person told Boland that they believe that the polls would only be open for in-

person voting if it is safe to go in person, while others expressed a recognition that if the

coronavirus risks continue to worsen, they might not be able to go in person to vote, but they did

not feel comfortable voting absentee by mail. Id. ¶ 4.

        195.       An 87 year-old named Marilyn was terrified about voting in person and told Boland

she had already determined that she would not go to her polling location to vote in person. She

reported that she had tried twice to request a ballot on-line but was unable to do so. She was unsure

whether the problems she had were user-error or problems with the website, her internet or other

technical problems. She told Boland that she had not missed voting in an election in many years,

but regretfully would miss voting if her only choice to vote was going in person. She expressed

concern about both her personal risk as well as the risk of unwittingly exposing her neighbors to

coronavirus, especially one neighbor who already has a respiratory condition. She told Boland she

lives alone. Although she said her son might be able to help her with the computer, in order to

request a ballot to vote by mail, she also said she was scared that this would put her at risk and

could violate the “Safer at home” Executive Order. Id. ¶ 5.

        196.       Boland’s discussion with Donna, an older lady, was a typical call. She told Boland

that she did not have a computer or smart phone, so requesting a ballot on-line was not available

to her. Id. ¶ 6.

        197.       Jane, age 63, who lives in Monroe, told Boland that she had just been laid off from

two of her three jobs, and did not have a smart phone or digital camera to take a photo of her ID




                                                   51
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 52 of 68



as needed to request a ballot on-line. The only (burdensome) option Boland and Jane could think

of is that she might be able to go to her third job, considered “essential,” and ask a co-worker to

take a photo of her ID and email it to her so she could request a ballot on-line. Id. ¶ 63.

       198.    Cynthia, also elderly, lives in Lodi. She told Boland she had no way to get her ID

uploaded onto her computer. She cheerfully said she would go to her library for help; Boland

unfortunately had to inform her that the library was closed due to the coronavirus. Id. ¶ 8.

       199.    Jolie Lizotte, a Regional Field Director doing canvassing for SEIU Wisconsin State

Council, has received similar reactions from voters with whom she has spoken.

       200.    On Tuesday, March 17, SEIUWI halted canvassing in the field (knocking on doors)

and shifted to a phone bank model, due to the coronavirus. Declaration of Jolie Lizotte (“Lizotte

Decl.”) ¶ 3.

       201.    In general Lizotte finds that every day she does canvassing work, she encounters a

significant number of people, especially those in older age brackets, who strongly prefer to vote in

person, who do not want to vote in a different way, and who do not feel comfortable with or capable

of navigating the absentee ballot process. In some cases, these are people who do not have a

smartphone or computer and who, as a result, do not have access to or the ability to request and

submit ballots online. Id. ¶ 4.

       202.    On March 24 and 25, 2020, Lizotte and her SEIUWI colleagues focused on calling

likely voters to encourage them to obtain absentee ballots for voting in the April 7, 2020 election.

They called an older population, 60 and older. Id. ¶ 5.

       203.    On March 25, Lizotte called people 60 and older living in the western part of

Wisconsin, aiming to encourage them to request an absentee ballot on-line. Lizotte spoke with

eleven (11) people. Of those eleven, three told her that they had no computer or smart phone to




                                                 52
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 53 of 68



use to request a ballot. Five said they strongly preferred to vote in person, and several of those

people gave Lizotte the impression that they always vote in person and were not willing to change

that practice. Id. ¶ 6.

        204.    On March 25, Lizotte spoke with an 82 year-old named Jerome. He told Lizotte

that he will always vote at the polls on election day. He said he would not do absentee voting.

Lizotte also spoke with 75 year-old William, who lives in Mauston. He indicated he has no

computer or smart phone. He told Lizotte he was very worried about the coronavirus and the risk

of becoming sick by leaving home. He did not know how he could get a ballot. He said he wanted

to get ballots for himself and his wife, and that both wanted to vote. Id. ¶¶ 7, 8.

        205.    On March 24, Lizotte spoke with 22 voters in the eastern portion of the state; about

80% of them were in the Milwaukee area, all 60 and older. Five said they had no access to a

computer or smart phone, so Lizotte was unable to help them with requesting an absentee ballot

online. Id. ¶ 9.

        206.    Although it is Lizotte’s understanding that online registration has been extended

pursuant to a court order, Lizotte’s experience has been that there is not widespread knowledge of

that extension. Most voters Lizotte mentions it to have not heard of the extension.

                                        Claims for Relief
                Count I: Violation of Section 2 of the Voting Rights Act of 1965

        207.    Plaintiffs reallege and incorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though fully set forth herein.

        208.    Section 2 of the Voting Rights Act provides, in relevant part, that “[n]o voting

qualification or prerequisite to voting or standard, practice, or procedure shall be imposed or

applied by any State . . . in a manner which results in a denial or abridgement of the right of any

citizen of the United States to vote on account of race, color, or in contravention of the guarantees


                                                 53
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 54 of 68



set forth in section 4(f)(2) [42 U.S.C. § 1973b(f)(2)], as provided in subsection (b).” 42 U.S.C. §

1973(a). 29. Private litigants may enforce their rights under 42 U.S.C. § 1973 by bringing a suit

under 42 U.S.C. § 1983.

       209.     The challenged voting procedures, if employed during the current election to

preclude the opportunity for in-person voting or relaxed standards of schedules and timelines for

voters to request and submit their mail-in absentee ballots imposes requirements for voting that, if

not declared illegal and enjoined, will continue adversely and disproportionately to affect African-

American and Latino voters.

       210.    Under the current scheme, African-American and Latino voters will have less

opportunity than other members of the electorate to participate in the political process and to elect

representatives of their choice because they are less likely to be able to vote via mail in absentee

ballot under the current election schedule and requirements, when compared with other members

of the electorate, and they will be subject to greater burdens and more severe hurdles in attempting

to cast their ballots than other members of the electorate.

       211.    African-American and Latino voters will have less opportunity than other members

of the electorate to participate in the political process and to elect representatives of their choice

because they are less likely to be able to submit their mail in absentee ballots under the current

statutory schedule, when compared with other members of the electorate, and they will be subject

to greater burdens and more severe hurdles in attempting to request and submit such mail-in

absentee ballots obtain than other members of the electorate.

       212.    African-Americans and Latinos have suffered from, and continue to suffer from,

discrimination in the electoral and political processes in the State of Wisconsin and its political

subdivisions, including through the use of practices or procedures that exacerbate discrimination




                                                 54
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 55 of 68



against African-American and Latino voters, the use of racial appeals in campaigns, and/or the

levels at which African-Americans and Latinos have been elected to public office. Racially

polarized voting in Wisconsin has only exacerbated the adverse affects of such discrimination

against African-American and Latino voters.

       213.    By virtually every measure, African-Americans and Latinos in Wisconsin have

suffered from, and continue to suffer from, the effects of discrimination in areas such as

employment, housing, and education that affect their ability to participate in the political process

and result in their disproportionately being able to access the mail-in absentee voting process. One

consequence of the historic discrimination against African-Americans and Latinos in Wisconsin

is that they fall on the wrong side of the “digital divide” and lack the requisite resources and

information to participate equally in the current mail-in absentee voting system.

       214.    Defendants have failed and continue to fail to implement any changes to the

election process to ensure a free and fair election that protects the voting rights of minority voters

in light of the COVID-19 pandemic.

       215.    The State’s asserted justifications or state interest in maintaining the current

electoral scheme – including the need to fill vacant local offices – is not supported by credible

evidence. Nor are the statutory scheme’s extreme, unduly harsh and restrictive, and arbitrarily and

unevenly administered provisions necessary or appropriately tailored (or even obviously related)

to the accomplishment of any legitimate state interest in administering a free and fair and safe

election.

       216.    When viewed in light of the circumstances described herein, the current election

schedule and requirement for the Spring Election and Presidential Preference Primary is likely to

disproportionately deny and abridge the rights of African-American and Latino voters in




                                                 55
          Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 56 of 68



Wisconsin to participate in the political process because they will be less likely than other members

of the electorate to request and submit mail-in absentee ballots.

          217.   The current election schedule and requirements for mail-in absentee voting, under

the circumstances of the current COVID-19 crisis, violates Section 2 of the Voting Rights Act of

1965, and Defendants are liable to Plaintiffs for this violation, jointly and severally.

          218.   If the current statutory scheme is not enjoined, Plaintiff Lewis and other minority

citizens of Wisconsin will continue to have their rights to vote denied and abridged. The

Organizational Plaintiffs and their constituent members, will face similar denial and abridgement

of their rights to vote. And these organizations will be forced to continue to divert and augment

substantial resources to assisting voters countering the effects of a discriminatory and invalid

statutory scheme for the present election and to devoting additional resources to accomplishing

their missions because the current statutory scheme makes it more difficult for African-American

and Latino citizens to vote.

          219.   In light of these violations, Plaintiffs are entitled to and request the relief specified

herein.

                         Count II: First and Fourteenth Amendments
            U.S. Const. Amend. I and XIV, 42 U.S.C. § 1983, 28 U.S.C. §§ 2201, 2202
                             Undue Burden on the Right to Vote

          220.   Plaintiffs reallege and incorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though fully set forth herein.

          221.   Under the Fourteenth Amendment, “No State shall . . . deny to any person within

its jurisdiction the equal protection of the laws.” U.S. CONST. amend. XIV.

          222.   Governor Evers’s Emergency Order #12, issued March 24, 2020, does not make an

exception for poll workers or for voters casting their votes in person at a polling place.

Consequently, Emergency Order #12. bans the municipal clerks in Wisconsin municipalities, their


                                                    56
         Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 57 of 68



staff, and poll workers in those municipalities from conducting in-person absentee balloting, and

an in-person election on April 7, 2020—all of which requires those individuals not only to be much

closer to voters than the six feet of distance all Wisconsinites have been ordered to maintain

between themselves, but to violate Emergency Order #12.

         223.   At the same time, the Commission has instructed municipal clerks to continue to

offer in-person registration and early absentee voting, and to plan to hold in-person elections on

April 7. Wis. Elections Comm’n, Memorandum, Emergency Order #12 Does Not Eliminate In-

Person             Absentee              Voting               (March            24,            2020)

https://elections.wi.gov/sites/elections.wi.gov/files/2020-

03/Clerk%20comm%20re%20Emergency%20Order%2012%203.24.20.pdf (last accessed March

26, 2020).

         224.   The Commission’s directives to Wisconsin municipalities during this pandemic

have denied and are denying Plaintiff Lewis and the Organizational Plaintiffs’ members the equal

protection of the law under the Governor’s emergency declaration and the Department of Health

Services’s emergency orders.

         225.   To conduct in-person voting as the Commission directs will subject Wisconsin

voters to choosing whether to exercise their right to vote by undertaking actions that are unsafe

and potentially detrimental to their own health and the health of their families, friends, and the

community in direct contravention of state and national orders intended to protect their health, or

to forego their right to vote.

         226.   The Commission has neither a compelling interest, important interest, or even a

legitimate interest for requiring an in-person election to be held on April 7 under the circumstances,

especially in light of the challenges caused by such a request.




                                                  57
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 58 of 68



       227.    Defendants have failed and continue to fail to implement any changes to the

election process to protect the public health, safety, and welfare from the continued spread of

COVID-19.

       228.    Defendants have failed and continue to fail to implement any changes to the

election process to ensure a free and fair election that protects the voting rights of all its

constituents in light of the COVID-19 pandemic.

       229.    Because of these failures, the municipalities are not able to adequately meet their

obligation to protect the public health, safety, and welfare of Plaintiff Lewis or the Organizational

Plaintiffs’ members, or administer a free and fair election that protects their voting rights.

       230.    Compliance with the Commission’s directives concerning the April 7, 2020

election places Plaintiff Lewis and the Organizational Plaintiffs’ members at an unreasonable risk

of harm through exposure to COVID-19, especially given the lack of sanitation and cleaning

supplies available for polling places.

       231.    The Commission’s directives will subject Plaintiff Lewis and the Organizational

Plaintiffs’ members to unequal treatment under the law, in violation of the Fourteenth Amendment

to the Constitution, based on the actual circumstances in existence at the time of filing, and not

based on any hypothetical state of facts.

       232.    The Commission has violated and will continue to violate the Fourteenth

Amendment equal protection rights of Plaintiff Lewis and the Organizational Plaintiffs’ members

if the April 7, 2020 election is not postponed.

       233.    Under the Anderson-Burdick balancing test, a court considering a challenge to a

state election law must carefully balance the character and magnitude of injury to the First and

Fourteenth Amendment rights that the plaintiff seeks to vindicate against “‘the precise interests




                                                  58
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 59 of 68



put forward by the State as justifications for the burden imposed by its rule,’ taking into

consideration ‘the extent to which those interests make it necessary to burden the plaintiff’s

rights.’” See Burdick v. Takushi, 504 U.S. 428, 434 (1992) (quoting Anderson v. Celebrezze, 460

U.S. 780, 789 (1983)).

        234.    Unless Plaintiffs are granted the relief requested herein thousands of Wisconsin

voters’ right to vote, including Plaintiff Lewis and the Organizational Plaintiffs’ members and

constituents, will be severely burdened (if not wholly eliminated) in the April 7, 2020 primary

election.

        235.    Because of COVID-19 and the unprecedented social distancing measures that

Wisconsin citizens have to take to slow the spread of the virus and to ensure their safety as well as

the safety of their friends, families, and neighbors, many Wisconsin voters who would have

registered to vote in-person between the March 18, 2020 electronic and by-mail registration cut-

off and/or on Election Day will no long be able to register to vote. Similarly, Wisconsin voters are

less able and, in some cases, wholly unable to copy and scan documents required to complete their

electronic and by-mail registration and absentee ballot applications. And, as absentee balloting

becomes the only safe way to vote, Wisconsin voters are at a high risk of not receiving their ballots

with sufficient time to mail it into the municipal clerk’s office so that it is received prior to the

Election Day Receipt Deadline. This too will lead to disenfranchisement.

        236.    The State cannot provide any colorable justification as to why the current court-

ordered March 30, 2020 deadline to request an absentee ballot online, the April 2, 2020 deadline to

request an absentee ballot by mail, or the April 3, 2020 deadline to request an absentee ballot in person at

the municipal clerk’s office should not be further extended, or why ballots received after the Election

Day Receipt Deadline should not be counted in light of this unprecedented crisis.




                                                    59
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 60 of 68



       237.    The State also cannot justify why the April 7 in-person election should not be

postponed to allow for the continuation of the online application for and submission of absentee

ballots for a reasonable period of time to allow those voters who failed to do prior to the April 7

deadline. Moreover, assuming that public health experts confirm that the pandemic has flattened

out and subsided such that in-person voting can be conducted in a safe manner, that a new date be

scheduled for regular in-person voting in the states 6,690 voting wards.

       238.    In short, the challenged laws as applied-to and during the extraordinary conditions

of the COVID-19 pandemic, are an unconstitutional infringement upon the voting rights of

Plaintiffs, un-supported by a state interest sufficient to justify the resulting burdens on the right to

vote, and thus, these laws violate the First and Fourteenth Amendments.

                                    Count III: Due Process
                            U.S. Const. Amend. XIV, 42 U.S.C. § 1983
                                Denial of Procedural Due Process

       239.      Plaintiffs reallege and incorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though fully set forth herein.

       240.      The Due Process Clause of the United States Constitution prohibits the states from

depriving “any person of . . . liberty . . . without due process of law.” U.S. CONST. amend. XIV,

§ 1. Which protections are due in a given case requires a careful analysis of the importance of the

rights and the other interests at stake. See Mathews v. Eldridge, 424 U.S. 319, 334–35 (1976);

Nozzi v. Hous. Auth. of City of L.A., 806 F.3d 1178, 1192 (9th Cir. 2015). Courts must first consider

“the nature of the interest that will be affected” by the government’s action as well as the “degree

of potential deprivation that may be created” by existing procedures. Nozzi, 806 F. 3d at 1192–93.

Second, “courts must consider the ‘fairness and reliability’ of the existing procedures and the

‘probable value, if any, of additional procedural safeguards.’” Id. at 1193 (quoting Mathews, 424

U.S. at 343). Finally, courts must consider “the public interest, which ‘includes the administrative


                                                  60
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 61 of 68



burden and other societal costs that would be associated with’ additional or substitute procedures.

Id. (quoting Mathews, 424 U.S. at 347). Overall, “due process is flexible and calls for such

procedural protections as the particular situation demands.” Mathews, 424 U.S. at 334, (quotation

and citation omitted).

        241.     Wisconsin’s procedures for registering to vote and absentee voting must comport

with due process. See Raetzel v. Parks/Bellemont Absentee Election Bd., 762 F. Supp. 1354, 1358

(D. Ariz. 1990). “Such due process is not provided when the election procedures [for voting by

mail]” do not adequately protect the right to vote or ensure that an “individual is not continually

and repeatedly denied so fundamental a right.” Id.; see also Saucedo v. Gardner, 335 F. Supp. 3d

202, 217 (D.N.H. 2018) (“Having induced voters to vote by absentee ballot, the State must provide

adequate process to ensure that voters’ ballots are fairly considered and, if eligible, counted.”).

        242.     “When an election process ‘reache[s] the point of patent and fundamental

unfairness,’ there is a due process violation.” Fla. State Conference of N.A.A.C.P. v. Browning,

522 F.3d 1153, 1183 (11th Cir. 2008) (quoting Roe v. Alabama, 43 F.3d 574, 580 (11th Cir. 1995)).

        243.     Under the current circumstances, there is little question that Wisconsin’s election

process is fundamentally unfair. The nature of the interest at stake in this case⸺the right to vote

and to have that vote count⸺is the most precious liberty interest of all because it is preservative

of all other basic civil and political rights.

        244.     But the challenged laws threaten to deprive Wisconsin voters of this right in the

election currently scheduled for April 7. Given the unprecedented situation at hand, Wisconsin must

establish adequate procedures to ensure that voters have a reliable, fair, effective and safe method to

cast their ballots in the April 7, 2020 election. Because the challenged laws, as applied under the

extraordinary conditions of the COVID-19 pandemic, are markedly inadequate in all of these




                                                  61
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 62 of 68



respects, and substitute procedures are readily available to protect voters’ rights with minimal

burden to the State, the challenged laws violate Wisconsin voters’ procedural due process rights.

                                Count IV: Declaratory Judgment
                                    28 U.S.C. §§ 2201, 2202
                                 Authority of Defendants to Act

       245.    Plaintiffs reallege and incorporate by reference all prior paragraphs of this

Complaint as though fully set forth herein.

       246.    Defendants have stated publicly that they do not have the authority to change the

statutory deadlines for voter registration or postpone the election.

       247.    Notwithstanding that position, however, the Commission has also, on its own

authority, ordered that “Municipalities shall not use the Special Voting Deputy process

[established by Wis. Stat. § 6.875] to serve residents in care facilities for these two elections and

instead shall transmit absentee ballots to those voters by mail.” Wis. Elections Comm’n, Guidance

Regarding Election Procedures and COVID-19 Public Health Emergency (“March 12, 2020 WEC

Guidance Regarding Election Procedures”), 1 (March 12, 2020).

       248.    Wisconsin Statutes section 6.875 provides for absentee voting in certain residential

care facilities and retirement homes through the use of special voting deputies, who are tasked

with visiting the facilities to supervise the in-person absentee voting procedure.

       249.    On March 12, 2020, Governor Evers had issued Executive Order #72, declaring a

public health emergency and designating the Department of Health Services as the lead agency to

respond to said emergency, but the Department had not issued any specific guidance relevant to

COVID-19 and long-term care facilities and assisted living facilities.1 Wis. Dep’t of Health Servs.,

DPH Communicable               Diseases       Memos,

https://www.dhs.wisconsin.gov/dph/memos/communicable-diseases/index.htm              (last    visited

March 26, 2020).


                                                 62
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 63 of 68



        250.    Accordingly, at the time that the Commission ordered that municipalities “shall

not” use Special Voting Deputies, March 12, 2020 WEC Guidance Regarding Election Procedures

at 1, it was acting upon its own authority, and not pursuant to any “require[d] court intervention,

an act of the Legislature, or an order of the Governor.” March 18, 2020 WEC COVID-19 Planning

Update.

        251.    Although Wisconsin Statutes section 6.875 sets out specific procedures by which

in-person absentee voting is to occur in residential care facilities and retirement homes, the

Commission determined that it was within its authority to eliminate in-person absentee voting as

an option for residents of such facilities based on information from the Department of Health

Services concerning vulnerable populations and exposure to COVID-19. March 12, 2020 WEC

Guidance Regarding Election Procedures at 1.

        252.    The Commission’s decision to abandon strict adherence to Wisconsin elections law

is not unprecedented; earlier this year, on February 12, 2020, the Commission determined that

although technically required by Wisconsin elections law, municipal clerks would not be required

to send two separate primary ballots—both of which would provide an opportunity for the elector.

        253.    On March 13, 2020, the Department issued a memo containing recommendations

for preventing COVID-19 in long- term care facilities and assisted living facilities. Wis. Dep’t

Health Servs., Important Recommendations for Prevention of COVID-19 in Long-Term Care

Facilities and Assisted Living Facilities (March 13, 2020). However, at the time of the

Commission’s decision to suspend the use of Special Voting Deputies, that memo had not yet been

publicly issued. Furthermore, that memo contained recommendations for limitations on access to

such facilities, rather than explicit orders.




                                                63
      Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 64 of 68



       254.   Despite having established precedent for changing election laws when situations

dictate it is appropriate to do so, when asked to modify in-person absentee voting procedures for

all other voters in light of COVID-19, the Commission has declined, instead reminding clerks that

“directives to limit the number of people gathering in one location do not translate into the

elimination of in-person absentee voting.” March 18, 2020 WEC In-Person Absentee Voting.

       255.   The Commission did not hesitate to suspend the customary operation of municipal

clerks under Wisconsin Statutes section 6.875 as a result of information from the Department of

Health Services that elderly populations are at increased risk of serious complications from

COVID-19; however, it has balked at taking similar precautions to protect the entire voting

population—which includes at-risk groups such as the elderly and those with serious underlying

medical conditions.

       256.   Additionally, the Commission’s insistence on conducting in-person absentee voting

and in-person election day voting likewise ignores the fact that densely populated areas of the

state, including Brown County, are already seeing community spread of COVID-19.

       257.   Similarly, the Governor and Secretary-designee Palm issued Emergency Order #12,

Safer at Home Order, directing all individuals present within the State of Wisconsin to stay at

home or at their place of residence, which conflicts with the prior orders in that there are no

exemptions for voting. Pines Decl., Ex. K (Wis. Dep’t Health Servs., Emergency Order #12 Safer

at Home Order (March 24, 2020)).

       258.   Requiring in-person appearance at an in-person absentee voting location or at a

polling place on election day forces electors to make a burdensome and unacceptable choice

between protecting their health and the health of their friends, families, and communities, and




                                               64
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 65 of 68



exercising their most fundamental right as Americans: participating in democratic elections. In

addition, if they do show up at the polls to vote, they do so potentially against an emergency order.

       259.    Plaintiffs therefore seek a declaration from this Court that Defendants not only have

the authority to suspend the application of Wisconsin’s election laws given the extraordinary

circumstances, but also have a duty to do so in order to simultaneously protect both the right to

vote and the health of Plaintiff Lewis, the Organizational Plaintiffs’ members, and every person

living in the State of Wisconsin.

       260.    Plaintiffs request this extraordinary remedy for the April 7, 2020 election only,

given the unprecedented emergency caused by COVID-19 and the unanimous opinion of those in

the health care community that the pandemic will not be over before election day, but will in fact

continue to get worse up to and even after that time.

                                        Prayer for Relief
         WHEREFORE, Plaintiffs respectfully request that this Court enter judgment as follows:
         A.     Declaring that in the context of the current COVID-19 crisis, proceeding with

 the in-person election on April 7, 2020, is an undue burden on the right to vote of Plaintiff Lewis

 and the Organizational Plaintiffs’ members and constituents, and directing Defendants to

 reschedule in-person voting so that it takes place on a date no sooner than the expiration of the

 time period set forth in Emergency Order #12, as it may be extended by Governor Evers;

         B.     Declaring that in the context of the current Coronavirus crisis, Wisconsin’s

 current electronic and by-mail registration deadline, Wis. Stat. § 6.28(1); requirements that

 copies of proof of residence and voter ID accompany electronic and by-mail voter registration

 and absentee applications, id. § 6.34, 6.86, respectively; and the requirement that polling places

 receive absentee ballots by 8:00 p.m. on election day to be counted, id. § 6.87, are

 unconstitutional in violation of the First and Fourteenth Amendments;


                                                 65
     Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 66 of 68



       C.      Declaring that in the context of the current COVID-19 crisis, the Defendants

have the authority—and duty—to suspend Wisconsin’s election laws to permit changes to

procedures that will more sufficiently protect municipal employees, poll workers, prospective

voters, and the community from further spread of COVID-19;

       D.      Enjoining the enforcement of Wis. Stat. § 6.34’s proof of residency requirement

for voter registrations until the COVID-19 crisis is over, and no sooner than the expiration of

the duration of Emergency Order #12, subject to further extension;

       E.      Enjoining the enforcement of Wis. Stat. §§ 6.86 - 87’s photo identification

requirements until the COVID-19 crisis is over, and no sooner than the expiration of the duration

of Emergency Order #12, subject to further extension;

       F.      Enjoining the enforcement of Wis. Stat. 6.86(4)(b) witness requirement until the

COVID-19 crisis is over, and no sooner than the expiration of the duration of Emergency Order

#12, subject to further extension;

       G.      Ordering the Commission to supply envelopes and printed ballots to

municipalities in sufficient numbers such that every registered voter who timely requests an

absentee ballot by mail receives the mailed ballot in advance of the rescheduled election either

pursuant to statute or as may be ordered by the Court;

       H.      Enjoining Defendants and their respective agents, officers, employees, and

successors, and all persons acting in concert with each or any of them, from rejecting ballots

that are postmarked on or before Election Day and arrive at the municipal clerk’s office by June

2, 2020;

       I.      Enjoining Defendants from enforcing the requirement that municipalities allow

in-person voter registration and/or in-person absentee voting until after Emergency Order #12,




                                               66
       Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 67 of 68



 as it may be extended, has expired;

       J.      Ordering the Commission to permit municipal clerks to mail election ballots to all

registered voters and to postpone in-person election in polling places on April 7, 2020, and

reschedule it at such time within a reasonable period that the public health crisis is subsided, and

no sooner than the expiration of the duration of Emergency Order #12, subject to further extension;

       K.      Ordering Defendants to extend the deadline for registration electronically or by

mail to May 1, 2020;

       L.      Ordering Defendants to establish Tuesday, June 2, 2020 as the deadline by which

municipal clerks must have counted all returned mailed absentee ballots;

       M.      Awarding Plaintiffs their reasonable costs and attorneys’ fees incurred in bringing

this action pursuant to 42 U.S.C. § 1988, 28 U.S.C. § 1920, and as otherwise permitted by law;

and

       N.      Granting such other relief as the Court deems just and proper.

DATE: March 26, 2020                          Respectfully submitted,

                                              RATHJE WOODWARD LLC

                                              /s/ Douglas M. Poland
                                              Douglas M. Poland
                                              State Bar No. 1055189
                                              David P. Hollander
                                              State Bar No. 1107233

                                              Mailing Address:
                                              10 E Doty Street
                                              Suite 507
                                              Madison, WI 53703
                                              (608) 960-7430 (telephone)
                                              (608) 960-7460 (facsimile)
                                              dpoland@rathjewoodward.com
                                              dhollander@rathjewoodward.com




                                                67
Case: 3:20-cv-00284-wmc Document #: 1 Filed: 03/26/20 Page 68 of 68



                               HAWKS QUINDEL, S.C.

                               /s/ Richard Saks
                               Richard Saks, SBN 1022048

                               Mailing Address:
                               222 E. Erie St.
                               Suite 210
                               Milwaukee, WI 53201
                               (414) 271-8650 (telephone)
                               (414) 331-4405 (cell)
                               (414) 271-8442
                               rsaks@hq-law.com

                               Counsel for Plaintiffs Greg Lewis, Souls to the
                               Polls, Voces de la Frontera, Black Leaders
                               Organizing for Communities, American
                               Federation of Teachers, Local 212, AFL-CIO,
                               and League of Women Voters of Wisconsin

                               PINES BACH LLP

                               /s/ Lester A. Pines
                               Lester A. Pines, SBN 1016543
                               Tamara B. Packard, SBN 1023111

                               Mailing Address:
                               122 West Washington Ave.
                               Suite 900
                               Madison, WI 53703
                               (608) 251-0101 (telephone)
                               (608) 251-2883 (facsimile)
                               lpines@pinesbach.com
                               tpackard@pinesbach.com

                               Counsel for Plaintiff SEIU Wisconsin State
                               Council




                                68
